                                                                                                                                                                                  2/26/18 2:58PM


 Fill in this information to identify your case:

 Debtor 1                   Richard McKay Osborne, Sr.
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF OHIO

 Case number           17-17361
 (if known)
                                                                                                                                                                   Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $         9,303,470.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $         1,528,715.26

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $        10,832,185.26

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $        25,819,824.41

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $                     0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $         6,172,361.05


                                                                                                                                     Your total liabilities $            31,992,185.46


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $             32,091.70

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $             32,084.06

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Richard McKay Osborne, Sr.                                                 Case number (if known) 17-17361

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Richard McKay Osborne, Sr.
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF OHIO

 Case number            17-17361                                                                                                                                    Check if this is an
                                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                        12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        7020 Williams Road                                                             Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the          Current value of the
        Concord                           OH        44077-0000                         Land                                       entire property?              portion you own?
        City                              State              ZIP Code                  Investment property                               $235,890.00                   $235,890.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Lake                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                      page 1
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       IROQUOIS AV                                                            Single-family home                              Do not deduct secured claims or exemptions. Put
       11B041E000070                                                          Duplex or multi-unit building
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $1,320.00                     $1,320.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       TREMAINE DR                                                            Single-family home                              Do not deduct secured claims or exemptions. Put
       29B010C000010                                                          Duplex or multi-unit building
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WICKLIFFE                         OH        44092-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $800.00                      $800.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 2
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.4                                                                   What is the property? Check all that apply
       E 360 ST                                                               Single-family home                              Do not deduct secured claims or exemptions. Put
       34A012C000170                                                          Duplex or multi-unit building
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WILLOUGHBY                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $820.00                      $820.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.5                                                                   What is the property? Check all that apply
       KEEWAYDIN DR                                                           Single-family home                              Do not deduct secured claims or exemptions. Put
       34A017B000290                                                          Duplex or multi-unit building
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WILLOUGHBY                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $520.00                      $520.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 3
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.6                                                                   What is the property? Check all that apply
       7265 MARKELL RD                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       25A0060000010                                                          Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WAITE HILL                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                 $1,723,370.00                    $1,723,370.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.7                                                                   What is the property? Check all that apply
       434 WATER ST                                                           Single-family home                              Do not deduct secured claims or exemptions. Put
       10-154300                                                              Duplex or multi-unit building
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       CHARDON                           OH        44024-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $100,000.00                    $100,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       GEAUGA                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




Official Form 106A/B                                                      Schedule A/B: Property                                                                               page 4
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.8                                                                   What is the property? Check all that apply
       GIRDLED RD                                                             Single-family home                              Do not deduct secured claims or exemptions. Put
       08A0010000490                                                          Duplex or multi-unit building
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       CONCORD                                                                                                                Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $73,070.00                    $73,070.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.9                                                                   What is the property? Check all that apply
       11714 GIRDLED RD                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       08A004A000240                                                          Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative


       CONCORD                                                                Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $33,540.00                    $33,540.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 5
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 0                                                                     What is the property? Check all that apply
       7792 RAVENNA RD                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       08A004B000140                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative


       CONCORD                                                                Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $114,260.00                   $114,260.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.1
 1                                                                     What is the property? Check all that apply
       7800 RAVENNA RD                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       08A004B000180                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative


       CONCORD                                                                Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $137,930.00                   $137,930.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 6
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 2                                                                     What is the property? Check all that apply
       11579 GIRDLED RD                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       08A0120000420                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative


       CONCORD                                                                Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $204,140.00                   $204,140.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.1
 3                                                                     What is the property? Check all that apply
       RAVENNA RD                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       08A0130000540                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       CONCORD                                                                                                                Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $66,750.00                    $66,750.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 7
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 4                                                                     What is the property? Check all that apply
       CONCORD HAMBDEN RD                                                                                                     Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       08A0140000120                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       CONCORD                                                                                                                Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $65,560.00                    $65,560.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 5                                                                     What is the property? Check all that apply
       CONCORD HAMBDEN RD                                                                                                     Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       08A0140000390                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       CONCORD                                                                                                                Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $181,370.00                   $181,370.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 6                                                                     What is the property? Check all that apply
       7741 AUBURN RD                                                         Single-family home                              Do not deduct secured claims or exemptions. Put
       08A0200000040                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       CONCORD                                                                                                                Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $89,480.00                    $89,480.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 7                                                                     What is the property? Check all that apply
       LAKE SHORE BV                                                                                                          Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       34A017A000030                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       EASTLAKE                          OH        44095-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $55,280.00                    $55,280.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 8                                                                     What is the property? Check all that apply
       WILLIAMS ST                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       13A0020000200                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       GRAND RIVER                       OH        44045-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $3,940.00                     $3,940.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 9                                                                     What is the property? Check all that apply
       CARTER RD                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       07A0270000090                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       LEROY                                                                                                                  Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $395,880.00                   $395,880.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.2
 0                                                                     What is the property? Check all that apply
       5848 VROOMAN RD                                                                                                        Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       07A0340000160                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative


       LEROY                                                                  Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $630,520.00                   $630,520.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     Industrial Building                   (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.2
 1                                                                     What is the property? Check all that apply
       CARTER RD                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       07A0350000030                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       LEROY                                                                                                                  Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $78,900.00                    $78,900.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.2
 2                                                                     What is the property? Check all that apply
       VROOMAN RD                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       07A0350000050                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       LEROY                                                                                                                  Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $50,470.00                    $50,470.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.2
 3                                                                     What is the property? Check all that apply
       VROOMAN RD                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       07A0420000230                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       LEROY                                                                                                                  Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $49,200.00                    $49,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.2
 4                                                                     What is the property? Check all that apply
       5660 VROOMAN RD                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       07A0420000240                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative


       LEROY                                                                  Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $205,230.00                   $205,230.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.2
 5                                                                     What is the property? Check all that apply
       CARTER RD                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       08A0090000030                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       LEROY                                                                                                                  Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $119,020.00                   $119,020.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.2
 6                                                                     What is the property? Check all that apply
       CARTER RD                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       08A0090000040                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       LEROY                                                                                                                  Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $120,330.00                   $120,330.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.2
 7                                                                     What is the property? Check all that apply
       CARTER RD                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       08A0090000050                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       LEROY                                                                                                                  Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $137,840.00                   $137,840.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.2
 8                                                                     What is the property? Check all that apply
       NORWOOD DR                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       01B094B000070                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MADISON                           OH        44057-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $2,720.00                     $2,720.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.2
 9                                                                     What is the property? Check all that apply
       NORWOOD DR                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       01B094B000080                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MADISON                           OH        44057-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $2,720.00                     $2,720.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.3
 0                                                                     What is the property? Check all that apply
       NORWOOD DR                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       01B094B000090                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MADISON                           OH        44057-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $2,720.00                     $2,720.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.3
 1                                                                     What is the property? Check all that apply
       NORWOOD DR                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       01B094B000100                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MADISON                           OH        44057-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $2,720.00                     $2,720.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 16
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.3
 2                                                                     What is the property? Check all that apply
       N RIDGE RD                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       01B108B000010                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MADISON                           OH        44057-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $31,200.00                    $31,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.3
 3                                                                     What is the property? Check all that apply
       RIVER ST                                                                                                               Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       02A0020000030                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MADISON                           OH        44057-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $260.00                      $260.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.3
 4                                                                     What is the property? Check all that apply
       7209 MENTOR AV                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       16B0280000200                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $96,270.00                    $96,270.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.3
 5                                                                     What is the property? Check all that apply
       MENTOR AV                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       16B031B000270                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $2,720.00                     $2,720.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.3
 6                                                                     What is the property? Check all that apply
       MENTOR AV                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       16B031B000280                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $19,030.00                    $19,030.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.3
 7                                                                     What is the property? Check all that apply
       MENTOR AV                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       16B031B000310                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $30,380.00                    $30,380.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.3
 8                                                                     What is the property? Check all that apply
       7482 CENTER ST (Unit 5)                                                Single-family home                              Do not deduct secured claims or exemptions. Put
       16B035N000050                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $150,000.00                   $150,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.3
 9                                                                     What is the property? Check all that apply
       7472 PRESLEY AV (unit F1)                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       16B035N000200                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $150,000.00                   $150,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.4
 0                                                                     What is the property? Check all that apply
       7474 PRESLEY AV (unit F2)                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       16B035N000210                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $150,000.00                   $150,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.4
 1                                                                     What is the property? Check all that apply
       7000 FRACCI CT aka 7001 Center                                         Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Street                                                                 Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       16B0390000050
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $900,000.00                   $900,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     Office Building                       (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.4
 2                                                                     What is the property? Check all that apply
       OLD HEISLEY RD                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       16B054A000010                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $16,970.00                    $16,970.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.4
 3                                                                     What is the property? Check all that apply
       6930 OLD HEISLEY RD                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       16B054A000020                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $33,250.00                    $33,250.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.4
 4                                                                     What is the property? Check all that apply
       7325 REYNOLDS RD                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       16C0700000160                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $307,020.00                   $307,020.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.4
 5                                                                     What is the property? Check all that apply
       7317 REYNOLDS RD                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       16C0700000180                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $145,960.00                   $145,960.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.4
 6                                                                     What is the property? Check all that apply
       8310 BELLFLOWER RD                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       16C077J000200                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $84,890.00                    $84,890.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.4
 7                                                                     What is the property? Check all that apply
       HOPKINS RD                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       16C0850000030                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $7,220.00                     $7,220.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 24
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.4
 8                                                                     What is the property? Check all that apply
       HENDRICKS                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       16C0870000030                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $1,180.00                     $1,180.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.4
 9                                                                     What is the property? Check all that apply
       charmar                                                                                                                Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       16D102A000270                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $43,510.00                    $43,510.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 25
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.5
 0                                                                     What is the property? Check all that apply
       charmar & LSB                                                                                                          Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       16D102A000280                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $45,230.00                    $45,230.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.5
 1                                                                     What is the property? Check all that apply
       ANDREWS RD                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       19A090H000670                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $22,310.00                    $22,310.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.5
 2                                                                     What is the property? Check all that apply
       6042 ANDREWS RD                                                                                                        Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       19A090I000010                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $39,200.00                    $39,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.5
 3                                                                     What is the property? Check all that apply
       PRIMROSE ANDREWS RD                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       19A090I000020                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       MENTOR                            OH        44060-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $27,520.00                    $27,520.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.5
 4                                                                     What is the property? Check all that apply
       STAGE AV                                                                                                               Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       15C0260000210                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       PAINESVILLE                       OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $13,920.00                    $13,920.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.5
 5                                                                     What is the property? Check all that apply
       1220 W JACKSON ST                                                      Single-family home                              Do not deduct secured claims or exemptions. Put
       15C036H000110                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       PAINESVILLE                       OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $97,620.00                    $97,620.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.5
 6                                                                     What is the property? Check all that apply
       1192 West Jackson                                                      Single-family home                              Do not deduct secured claims or exemptions. Put
       15C036H000180                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       PAINESVILLE                       OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $72,390.00                    $72,390.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.5
 7                                                                     What is the property? Check all that apply
       1186 W JACKSON ST                                                      Single-family home                              Do not deduct secured claims or exemptions. Put
       15C036H000190                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       PAINESVILLE                       OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $91,310.00                    $91,310.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.5
 8                                                                     What is the property? Check all that apply
       SANFORD REAR ST                                                                                                        Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       15D016C000150                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       PAINESVILLE                       OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,570.00                     $6,570.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.5
 9                                                                     What is the property? Check all that apply
       OWEGO ST                                                                                                               Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       15D0200000040                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       PAINESVILLE                       OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $1,910.00                     $1,910.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.6
 0                                                                     What is the property? Check all that apply
       ELBERTA RD                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       35A0080000110                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       PAINESVILLE                       OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $18,930.00                    $18,930.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.6
 1                                                                     What is the property? Check all that apply
       2450 N RIDGE RD                                                                                                        Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B0340000050                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative


       PAINESVILLE                                                            Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $68,610.00                    $68,610.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     Commercial Garage                     (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.6
 2                                                                     What is the property? Check all that apply
       SPRING LAKE BV                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B0340000570                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                             $90.00                       $90.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.6
 3                                                                     What is the property? Check all that apply
       26 FAIRPORT NURSERY RD                                                 Single-family home                              Do not deduct secured claims or exemptions. Put
       11B0370000020                                                                                                          the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative


       PAINESVILLE                                                            Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $51,540.00                    $51,540.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.6
 4                                                                     What is the property? Check all that apply
       150 FAIRPORT NURSERY RD                                                                                                Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B038A000100                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $57,120.00                    $57,120.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.6
 5                                                                     What is the property? Check all that apply
       46 IROQUOIS AV                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B041E000080                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                             $20.00                       $20.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.6
 6                                                                     What is the property? Check all that apply
       214 LAKE RD                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B041G040130                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                               $0.00                        $0.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.6
 7                                                                     What is the property? Check all that apply
       1053 ARDOYLE AV                                                                                                        Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B043A000200                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                             $30.00                       $30.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.6
 8                                                                     What is the property? Check all that apply
       321 Lake Road                                                                                                          Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B043A000230                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $350.00                      $350.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.6
 9                                                                     What is the property? Check all that apply
       MIDWAY BV                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B043A000390                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                             $40.00                       $40.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.7
 0                                                                     What is the property? Check all that apply
       ROBINHOOD AV                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B043B000560                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $4,900.00                     $4,900.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.7
 1                                                                     What is the property? Check all that apply
       SUNSET CT                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B043B000600                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $7,670.00                     $7,670.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.7
 2                                                                     What is the property? Check all that apply
       SUNSET CT                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B043B000620                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $7,960.00                     $7,960.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.7
 3                                                                     What is the property? Check all that apply
       RICHMOND RD                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B065B000010                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $4,050.00                     $4,050.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.7
 4                                                                     What is the property? Check all that apply
       RICHMOND RD                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B065B000020                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $4,500.00                     $4,500.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.7
 5                                                                     What is the property? Check all that apply
       946 RICHMOND RD                                                                                                        Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       11B065B000030                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
       PAINESVILLE                                                                                                            Current value of the          Current value of the
       TOWNSHIP                          OH        44077-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $4,500.00                     $4,500.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.7
 6                                                                     What is the property? Check all that apply
       CLARK RD                                                                                                               Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       03A0380000190                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       PERRY                             OH        44081-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $52,300.00                    $52,300.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     Commercial Building                   (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.7
 7                                                                     What is the property? Check all that apply
       CLARK RD                                                                                                               Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       03A0380000200                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       PERRY                             OH        44081-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $1,180.00                     $1,180.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.7
 8                                                                     What is the property? Check all that apply
       6912 ST RT 44                                                                                                          Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       31-210-00-00-012-000                                                   Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       RAVENNA                           OH        44266-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $104,500.00                   $104,500.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       PORTAGE                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.7
 9                                                                     What is the property? Check all that apply
       LOVERS LN                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       31-210-00-00-014-000                                                   Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       RAVENNA                           OH        44266-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $83,400.00                    $83,400.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       PORTAGE                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.8
 0                                                                     What is the property? Check all that apply
       FROST                                                                                                                  Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       35-021-00-00-001-000                                                   Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       STREETSBORO                       OH        44241-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $33,600.00                    $33,600.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       PORTAGE                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.8
 1                                                                     What is the property? Check all that apply
       FROST                                                                                                                  Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       35-021-00-00-002-000                                                   Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       STREETSBORO                       OH        44241-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $100.00                      $100.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       PORTAGE                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.8
 2                                                                     What is the property? Check all that apply
       538 FROST                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       35-023-00-00-023-000                                                                                                   the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       STREETSBORO                       OH        44241-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $92,500.00                    $92,500.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       PORTAGE                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.8
 3                                                                     What is the property? Check all that apply
       S I 90 (south side of Interstate 90 in w                                                                               Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       26A0010000030                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WAITE HILL                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $300.00                      $300.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.8
 4                                                                     What is the property? Check all that apply
       SUNNY LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-002
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,000.00                     $6,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.8
 5                                                                     What is the property? Check all that apply
       SUNNY LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-003
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,000.00                     $6,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.8
 6                                                                     What is the property? Check all that apply
       SUNNY LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-004
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,000.00                     $6,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.8
 7                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-020
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,200.00                     $6,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.8
 8                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-030
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,200.00                     $6,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.8
 9                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-031
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,800.00                     $6,800.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.9
 0                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-054
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,000.00                     $6,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.9
 1                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-055
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,000.00                     $6,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.9
 2                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-056
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $5,600.00                     $5,600.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.9
 3                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-069
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,200.00                     $6,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.9
 4                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-070
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,200.00                     $6,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.9
 5                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-071
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,200.00                     $6,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.9
 6                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-072
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,200.00                     $6,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.9
 7                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-073
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,400.00                     $6,400.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.9
 8                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-074
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,300.00                     $6,300.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.9
 9                                                                     What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-078
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,600.00                     $6,600.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 50
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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 00                                                                    What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-079
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,700.00                     $6,700.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 01                                                                    What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-080
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,900.00                     $6,900.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 02                                                                    What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-083
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $5,900.00                     $5,900.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 03                                                                    What is the property? Check all that apply
       SARAH LANE (Stones Throw                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
       Development)                                                           Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       763-19-084
                                                                              Condominium or cooperative
       Street address, if available, or other description

                                                                              Manufactured or mobile home
       WARRENSVILLE                                                                                                           Current value of the          Current value of the
       HEIGHTS                           OH        44122-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $6,300.00                     $6,300.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cuyahoga                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 04                                                                    What is the property? Check all that apply
       CONCORD ST (devil strip)                                                                                               Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       29B007C000350                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WICKLIFFE                         OH        44092-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $290.00                      $290.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 05                                                                    What is the property? Check all that apply
       MEADOW ST                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       29B007D001020                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WICKLIFFE                         OH        44092-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $300.00                      $300.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 06                                                                    What is the property? Check all that apply
       CATAWBA ST                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       29B007D001030                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WICKLIFFE                         OH        44092-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $300.00                      $300.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 07                                                                    What is the property? Check all that apply
       WOOD ST                                                                                                                Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       29B007E000010                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WICKLIFFE                         OH        44092-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $420.00                      $420.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 08                                                                    What is the property? Check all that apply
       E 296 ST                                                                                                               Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       29B007E000170                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WICKLIFFE                         OH        44092-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $430.00                      $430.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 09                                                                    What is the property? Check all that apply
       ROBINDALE ST                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       29B007E000450                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WICKLIFFE                         OH        44092-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                           $420.00                      $420.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 10                                                                    What is the property? Check all that apply
       PELTON RD                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       27B039A000050                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WILLOUGHBY                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $1,240.00                     $1,240.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 11                                                                    What is the property? Check all that apply
       LOST NATION RD                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       27B0440000110                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WILLOUGHBY                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $2,240.00                     $2,240.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 12                                                                    What is the property? Check all that apply
       SHADOWROW AV                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       27B056E000530                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WILLOUGHBY                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $7,280.00                     $7,280.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 13                                                                    What is the property? Check all that apply
       1101 LOST NATION RD                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       27B056E000540                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WILLOUGHBY                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $89,630.00                    $89,630.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     Commercial Structure                  (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 14                                                                    What is the property? Check all that apply
       1080 SHADOWROW RD                                                                                                      Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       27B057C000370                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WILLOUGHBY                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $15,200.00                    $15,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 15                                                                    What is the property? Check all that apply
       1086 SHADOWROW RD                                                                                                      Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       27B057C000380                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WILLOUGHBY                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $15,200.00                    $15,200.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 16                                                                    What is the property? Check all that apply
       1073 LOST NATION RD                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       27B057C000390                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WILLOUGHBY                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $45,880.00                    $45,880.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner


       If you own or have more than one, list here:
 1.1
 17                                                                    What is the property? Check all that apply
       MILLER AV                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       31A013B000770                                                          Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       WILLOUGHBY                        OH        44094-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $3,010.00                     $3,010.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       LAKE                                                                   Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       See attached for record owner




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 18                                                                    What is the property? Check all that apply
       Swede road                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       td-1-828                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TIDIOUTE                          PA        16351-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $15,544.00                    $15,544.00
                                                                              Timeshare
                                                                                        Part of private
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     compound                              (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Warren                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.1
 19                                                                    What is the property? Check all that apply
       Swede road                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       td-1-852                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TIDIOUTE                          PA        16351-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $7,482.00                     $7,482.00
                                                                              Timeshare
                                                                                        Part of private
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     compound                              (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Warren                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 20                                                                    What is the property? Check all that apply
       Swede road                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       td-1-8621                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TIDIOUTE                          PA        16351-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $76,995.00                    $76,995.00
                                                                              Timeshare
                                                                                        Part of private
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     compound                              (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Warren                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.1
 21                                                                    What is the property? Check all that apply
       Swede road                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       td-1-8622                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TIDIOUTE                          PA        16351-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $241,314.00                   $241,314.00
                                                                              Timeshare
                                                                                        Part of private
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     compound                              (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Warren                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 22                                                                    What is the property? Check all that apply
       Swede road                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       td-001-862200-001                                                      Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TIDIOUTE                          PA        16351-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $370,944.00                   $370,944.00
                                                                              Timeshare
                                                                                        Part of private
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     compound                              (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Warren                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.1
 23                                                                    What is the property? Check all that apply
       Swede road                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       td-1-944                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TIDIOUTE                          PA        16351-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $35,141.00                    $35,141.00
                                                                              Timeshare
                                                                                        Part of private
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     compound                              (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Warren                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 24                                                                    What is the property? Check all that apply
       Swede road                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       td-1-94772                                                             Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TIDIOUTE                          PA        16351-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        $3,195.00                     $3,195.00
                                                                              Timeshare
                                                                                        Part of private
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     compound                              (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Warren                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.1
 25                                                                    What is the property? Check all that apply
       Swede Road                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       TD-1-842                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TIDIOUTE                          PA        16351-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $30,953.00                    $30,953.00
                                                                              Timeshare
                                                                                        Part of private
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     compound                              (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Warren                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




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 Debtor 1        Richard McKay Osborne, Sr.                                                                             Case number (if known)          17-17361

       If you own or have more than one, list here:
 1.1
 26                                                                    What is the property? Check all that apply
       Campbell Hill Road                                                                                                     Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       TD-1-8351                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
       Street address, if available, or other description
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       TIDIOUTE                          PA        16351-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $43,022.00                    $43,022.00
                                                                              Timeshare
                                                                                        Part of private
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     compound                              (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Warren                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




       If you own or have more than one, list here:
 1.1
 27                                                                    What is the property? Check all that apply
       538 Frost Rd                                                           Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                              the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Streetsboro                       OH        44241-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $100,000.00                   $100,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Portage                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Record Title in name of RMO Trust; Extensively damaged by tenant
                                                                       PPN 35-023-00-00-023-000


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                   $9,303,470.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




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 Debtor 1        Richard McKay Osborne, Sr.                                                                         Case number (if known)       17-17361
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Explorer                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1989                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 7265 Markell Road,
         Waite Hill OH 44094                                         Check if this is community property                                $1,000.00                  $1,000.00
                                                                     (see instructions)



  3.2    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Gran Torino                                     Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1972                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 7265 Markell Road,
         Waite Hill OH 44094                                         Check if this is community property                                $1,000.00                  $1,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $2,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Miscellaneous Household Goods
                                    Location: 7265 Markell Road, Waite Hill OH 44094                                                                              $75,000.00


                                    Miscellaneous pictures, paintings, decor
                                    Location: 7265 Markell Road, Waite Hill OH 44094                                                                              $10,000.00


                                    Miscellaneous Houshold Goods
                                    Location: 7020 Williams Road, Concord, OH                                                                                     $25,000.00


                                    Miscellaneous Household Goods
                                    Location: 225 Swede Road, Tidioute, PA 16351                                                                                  $65,000.00




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 Debtor 1       Richard McKay Osborne, Sr.                                                          Case number (if known)     17-17361
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    Antique Firearms
                                    Location: 7265 Markell Road, Waite Hill OH 44094                                                             $5,000.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Miscellaneous Clothing
                                    Location: 7265 Markell Road, Waite Hill OH 44094                                                               $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Miscellaneous Costume Jewelry, Watches
                                    Location: 7265 Markell Road, Waite Hill OH 44094                                                               $175.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                    $180,675.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.


Official Form 106A/B                                                 Schedule A/B: Property                                                            page 66
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 Debtor 1         Richard McKay Osborne, Sr.                                                                                        Case number (if known)   17-17361
16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                       Cash                                    $500.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
        No
        Yes........................                                                               Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

                                                                                                                                     See attched
                                                  SEE ATTACHED LIST                                                                      list    %                           Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No

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 Debtor 1       Richard McKay Osborne, Sr.                                                            Case number (if known)   17-17361

        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                      Note Receivable
                                                      Michael Gorman
                                                      936 Rose Angel Circle
                                                      Wake Forest, NC 27587-3935                                                           $268,368.00


                                                      Note Receivable
                                                      Tammy Ferrara
                                                      c/o Dedicated to Children
                                                      6970 Heisley Road
                                                      Mentor, OH 44060                                                                       $15,342.00


                                                      Note Receivable
                                                      Carolyn Coatoam
                                                      2762 Hale Road
                                                      Painesville, OH 44077                                                                  $89,827.00


                                                      Note Receivable
                                                      Lauren Svec Tristano
                                                      3600 N Lake Shore, Apt 2206
                                                      Chicago, IL 60613-4658
                                                      and
                                                      235 N West Street
                                                      Wheaton, IL 60187-5004                                                                 $12,000.00


                                                      Note Receivable and Mortgage
                                                      Moses 'Red' La Fountaine
                                                      Lake Placid, NY                                                                        $60,000.00


                                                      $628,954.63 booked as loans on books and records of
                                                      Rockefeller Oil Co. LLC                                                                  Unknown

Official Form 106A/B                                                 Schedule A/B: Property                                                          page 68
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 Debtor 1        Richard McKay Osborne, Sr.                                                                                      Case number (if known)        17-17361


                                                          $2,137.096.39 booked as loans on books and records of
                                                          Sleepy Hollow Oil & Gas, LLC                                                                                         Unknown


                                                          $220,595.75 booked as loans on books and records of David
                                                          Oil Co. LLC                                                                                                          Unknown


                                                          $114,179.71 booked as loans on books and records of
                                                          Tatonka Oil Company, LLC                                                                                             Unknown


                                                          $436,737.34 booked as loans on books and records of Ohio
                                                          Rural Natural Gas Coop                                                                                               Unknown


                                                          $330,205.29 booked as loans on books and records of Big
                                                          Oats Oil Field Supply Co. LLC                                                                                        Unknown


                                                          $325,000 booked as advance from member on books and
                                                          records of Orwell Trumbull Pipeline Co LLC                                                                                 $0.00


                                                          Roalty due from David Oil Company LLC                                                                                      $3.26


                                                          $16,000 Loan due from Cobra Pipeline Co. LTD                                                                         Unknown


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
        Yes. Describe each claim.........

                                                          Insurance Claim for Fire at PA Compound                                                                          $900,000.00


35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $1,346,040.26


Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 69
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 Debtor 1         Richard McKay Osborne, Sr.                                                                                            Case number (if known)   17-17361

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $9,303,470.00
 56. Part 2: Total vehicles, line 5                                                                          $2,000.00
 57. Part 3: Total personal and household items, line 15                                                   $180,675.00
 58. Part 4: Total financial assets, line 36                                                             $1,346,040.26
 59. Part 5: Total business-related property, line 45                                                            $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
 61. Part 7: Total other property not listed, line 54                                             +              $0.00

 62. Total personal property. Add lines 56 through 61...                                                 $1,528,715.26                Copy personal property total          $1,528,715.26

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $10,832,185.26




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 70
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 Fill in this information to identify your case:

 Debtor 1                   Richard McKay Osborne, Sr.
                            First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number           17-17361
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     7001 Center Street LLC                   Describe the property that secures the claim:               $787,500.00               $900,000.00           $55,604.80
         Creditor's Name                          7001 Fracci Court

                                                  As of the date you file, the claim is: Check all that
                                                  apply.
                                                      Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)    Assignment of CFBank Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number


                                                                                                                                                            $1,990,000.0
 2.2     Chicago Title                                                                                      $1,990,000.00                       $0.00
                                                  Describe the property that secures the claim:                                                                        0
         Creditor's Name                          SEE ATTACHMENT

                                                  As of the date you file, the claim is: Check all that
         8518 Mentor Avenue                       apply.
         Mentor, OH 44060                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)    See Attachment
       community debt

 Date debt was incurred                                     Last 4 digits of account number

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 7
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 Debtor 1 Richard McKay Osborne, Sr.                                                                          Case number (if know)   17-17361
               First Name                  Middle Name                      Last Name




         CONCORD/HAMBDEN
 2.3                                                                                                               $487,500.00         $246,930.00    $292,071.50
         ROAD, LLC                                  Describe the property that secures the claim:
         Creditor's Name                            2 lots on Concord Hambden Road

                                                    As of the date you file, the claim is: Check all that
                                                    apply.
                                                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Assignment of Mortgage from Fifth/Third Bank
       community debt

 Date debt was incurred                                       Last 4 digits of account number


         Cuyahoga County
 2.4                                                Describe the property that secures the claim:                  $144,157.79         $118,800.00     $25,357.79
         Treasurer
         Creditor's Name                            See attached

                                                    As of the date you file, the claim is: Check all that
         2079 E 9th St                              apply.
         Cleveland, OH 44115                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                       Last 4 digits of account number


 2.5     Diane M Osborne Trust                      Describe the property that secures the claim:                $1,050,000.00         $781,568.00    $268,432.00
         Creditor's Name                            Property on Swede Road Tidioute
                                                    PA
                                                    As of the date you file, the claim is: Check all that
                                                    apply.
                                                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Mortages
       community debt

 Date debt was incurred                                       Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 7
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 Debtor 1 Richard McKay Osborne, Sr.                                                                          Case number (if know)   17-17361
               First Name                  Middle Name                      Last Name


 2.6     Erie National Bank                         Describe the property that secures the claim:                  $803,251.00               $0.00    $803,251.00
         Creditor's Name                            See Attachment

         fka, Lake National Bank                    As of the date you file, the claim is: Check all that
         7402 Center Street                         apply.
         Mentor, OH 44060                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    See Attachment
       community debt

 Date debt was incurred                                       Last 4 digits of account number


 2.7     Estate of John R. Masco                    Describe the property that secures the claim:                          $0.00       $100,000.00             $0.00
         Creditor's Name                            434 Water Street (Amount paid off
                                                    but lien not released)
         c/o Lori Masco
                                                    As of the date you file, the claim is: Check all that
         245 Lake Pointe Dr                         apply.
         Akron, OH 44333-1790                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                       Last 4 digits of account number


         Estate of Marion Rose
 2.8                                                                                                                $50,000.00          $33,600.00     $22,892.06
         Nathan                                     Describe the property that secures the claim:
         Creditor's Name                            Lot on Frost Road

         c/o Frances Nathan Rutt
                                                    As of the date you file, the claim is: Check all that
         11721 Ambleside Dr                         apply.
         Potomac, MD 20854                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                       Last 4 digits of account number


 2.9     Farley Land LLC                            Describe the property that secures the claim:                  $640,000.00         $129,370.00    $557,305.56



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 7
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 Debtor 1 Richard McKay Osborne, Sr.                                                                          Case number (if know)   17-17361
               First Name                  Middle Name                      Last Name


         Creditor's Name                            Lots on Carter Road and Vrooman
                                                    Road
                                                    As of the date you file, the claim is: Check all that
                                                    apply.
                                                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Assignment of Mortgage
       community debt

 Date debt was incurred                                       Last 4 digits of account number


 2.1                                                                                                                                                  $10,575,719.
 0       First National Bank of PA                  Describe the property that secures the claim:               $10,575,719.44               $0.00              44
         Creditor's Name                            SEE ATTACHMENT

                                                    As of the date you file, the claim is: Check all that
         6990 Heisley Road                          apply.
         Mentor, OH 44060                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    See attachment
       community debt

 Date debt was incurred          Various                      Last 4 digits of account number


 2.1
 1       Huntington Natl Bk                         Describe the property that secures the claim:                $2,445,689.38        $8,549,480.00             $0.00
         Creditor's Name                            See Attachment

         ATTN: Bankruptcy                           As of the date you file, the claim is: Check all that
         Po Box 89424                               apply.
         Cleveland, OH 44101                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    See Attachment
       community debt

                                 Opened
                                 05/08 Last
                                 Active
 Date debt was incurred          11/20/17                     Last 4 digits of account number


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 4 of 7
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 Debtor 1 Richard McKay Osborne, Sr.                                                                          Case number (if know)   17-17361
               First Name                  Middle Name                      Last Name




 2.1                                                                                                                                                  $3,450,000.0
 2       Huron Lime                                 Describe the property that secures the claim:                $3,450,000.00        $1,723,370.00              0
         Creditor's Name                            7265 MARKELL RD

         c/o Osborne, Inc.                          As of the date you file, the claim is: Check all that
         7954 Reynolds Road                         apply.
         Mentor, OH 44060                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    See Attachment
       community debt

 Date debt was incurred                                       Last 4 digits of account number


 2.1     Portage County
 3       Treasurer                                  Describe the property that secures the claim:                   $11,212.83         $314,100.00              $0.00
         Creditor's Name                            See Attached

                                                    As of the date you file, the claim is: Check all that
         449 S Meridian St Fl 1                     apply.
         Ravenna, OH 44266-1217                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                       Last 4 digits of account number


 2.1
 4       RBS Charter One                            Describe the property that secures the claim:                  $150,000.00         $235,890.00              $0.00
         Creditor's Name                            7020 Williams Road Concord, OH
                                                    44077 Lake County
                                                    As of the date you file, the claim is: Check all that
         8715 Mentor Avenue                         apply.
         Mentor, OH 44060                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                       Last 4 digits of account number



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 5 of 7
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 Debtor 1 Richard McKay Osborne, Sr.                                                                          Case number (if know)   17-17361
               First Name                  Middle Name                      Last Name



 2.1     RBS Charter                                                                                                                                  $2,828,150.9
 5       One/Citizens                               Describe the property that secures the claim:                $2,828,150.96               $0.00               6
         Creditor's Name                            SEE ATTACHED amount owed is
                                                    estimated based on payments made
                                                    As of the date you file, the claim is: Check all that
         8715 Mentor Avenue                         apply.
         Mentor, OH 44060                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    First Mortgage
       community debt

 Date debt was incurred          Various                      Last 4 digits of account number        Various

 2.1
 6       Tax Ease Ohio LLC                          Describe the property that secures the claim:                   $10,954.92         $100,000.00              $0.00
         Creditor's Name                            538 Frost Rd Streetsboro, OH 44241
                                                    Portage County
                                                    Record Title in name of RMO Trust;
                                                    Extensively damaged by tenant
                                                    PPN 35-023-00-00-023-000
         14800 Landmark Blvd Ste                    As of the date you file, the claim is: Check all that
         400                                        apply.
         Dallas, TX 75254                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2015-17                      Last 4 digits of account number        1592;6128;7096

 2.1
 7       Treasurer-Lake County                      Describe the property that secures the claim:                  $395,688.09        $7,946,980.00             $0.00
         Creditor's Name                            See Attached
         105 Main St
         PO BOX 490
                                                    As of the date you file, the claim is: Check all that
         Painesville, OH                            apply.
         44077-0490                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit




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 Debtor 1 Richard McKay Osborne, Sr.                                                                   Case number (if know)          17-17361
              First Name                Middle Name                      Last Name


    Check if this claim relates to a                  Other (including a right to offset)
    community debt

 Date debt was incurred                                   Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                          $25,819,824.41
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                         $25,819,824.41

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                            On which line in Part 1 did you enter the creditor?   2.15
        Citizens Bank NA
        1 Providence Ctr                                                                        Last 4 digits of account number
        Providence, RI 02903

        Name, Number, Street, City, State & Zip Code                                            On which line in Part 1 did you enter the creditor?   2.4
        Cuyahoga County Prosecutor
        General Civil Division                                                                  Last 4 digits of account number
        1200 Ontario St FL 8
        Cleveland, OH 44113

        Name, Number, Street, City, State & Zip Code                                            On which line in Part 1 did you enter the creditor?   2.10
        Indepence Bank
        Chief Legal Officer                                                                     Last 4 digits of account number
        4401 Rockside Rd
        Independence, OH 44131

        Name, Number, Street, City, State & Zip Code                                            On which line in Part 1 did you enter the creditor?   2.17
        Lake County Prosecutor-Civil
        105 Main St                                                                             Last 4 digits of account number
        PO Box 490
        Painesville, OH 44077

        Name, Number, Street, City, State & Zip Code                                            On which line in Part 1 did you enter the creditor?   2.7
        Lori Masco
        824 Carolina Cir SW                                                                     Last 4 digits of account number
        Vero Beach, FL 32962-6900

        Name, Number, Street, City, State & Zip Code                                            On which line in Part 1 did you enter the creditor?   2.16
        Suzanne Godenswager Esq.
        1213 Prospect Ave Ste 300                                                               Last 4 digits of account number
        Cleveland, OH 44113




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                  page 7 of 7
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                                                                                                          Counties 100%         Taxes and delinq.      total of tax 
                                 Property Information                                                     Market  Valuations   2016 payable 2017       certificates                     First Mortgage                                                 Additional Mortgages/liens
                                                                                                                                                                          Lender (1)
current deed       Parcel             owner                street address       county        type                             as of 11/20/2017                         Instrument No           mortgage amount             2nd                third                    fourth            Fifth
                                                                                                                                                                       RBS Charter One
  866/985      11B041E000070   OSBORNE RICHARD M           IROQUOIS AV          LAKE          land             1,320.00             $0.00                                                        12,960,000.00
                                                                                                                                                                        2014R012333

                                                                                                                                                                         RBS Charter
2008R032171    29B010C000010     OSBORNE RICK              TREMAINE DR          LAKE          land              800.00              $0.00                                                        12,960,000.00
                                                                                                                                                                       One2014R012333

                                                                                                                                                                       RBS Charter One
2008R032172    34A012C000170    OSBORNE Rick M               E 360 ST           LAKE          land              820.00             $179.87                                                       12,960,000.00
                                                                                                                                                                        2014R012333
                                                                                                                                                                       RBS Charter one
2008R032173    34A017B000290    OSBORNE Rick M            KEEWAYDIN DR          LAKE          land              520.00             $28.25                                                        12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                                                                           Parkview
                                                                                                                                                                                                                        2008R021424
                                                                                                                                                                                                                                            Huron Lime -             Huron Lime      Chicago Title -
                                                                                          single family                                                                Huntington Bank                                  $5,857,208.30
2006R043584    25A0060000010       RIGRTONA              7265 MARKELL RD        LAKE                         1,723,370.00           $0.00                                                        $2,000,000.00                             2012R002446              2012R002447       2013R010779
                                                                                             house                                                                      2008R012869                                       (amended
                                                                                                                                                                                                                                          ($1,060,000.00)          ($1,740,000.00)   ($1,990,000.00)
                                                                                                                                                                                                                        2009R024377)
                                                                                                                                                                                                                       $15,604,370.00
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SUNNY LANE (Stones                                                                                                Parkview
200901140920    763-19-002        RMO Trustee                                  Cuyahoga       land             6,000.00           $7,154.62                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200901140921
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SUNNY LANE (Stones                                                                                                Parkview
200901140920    763-19-003        RMO Trustee                                  Cuyahoga       land             6,000.00           $7,581.98                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SUNNY LANE (Stones                                                                                                Parkview
200901140920    763-19-004        RMO Trustee                                  Cuyahoga       land             6,000.00           $7,154.62                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-020        RMO Trustee                                  Cuyahoga       land             6,200.00          $12,201.43                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-030        RMO Trustee                                  Cuyahoga       land             6,200.00           $7,215.35                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-031        RMO Trustee                                  Cuyahoga       land             6,800.00           $8,003.39                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-054        RMO Trustee                                  Cuyahoga       land             6,000.00           $5,370.52                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-055        RMO Trustee                                  Cuyahoga       land             6,000.00           $5,261.30                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-056        RMO Trustee                                  Cuyahoga       land             5,600.00           $5,446.17                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-069        RMO Trustee                                  Cuyahoga       land             6,200.00           $7,215.35                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-070        RMO Trustee                                  Cuyahoga       land             6,200.00           $7,215.35                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-071        RMO Trustee                                  Cuyahoga       land             6,200.00           $6,816.10                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-072        RMO Trustee                                  Cuyahoga       land             6,200.00           $7,240.97                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-073        RMO Trustee                                  Cuyahoga       land             6,400.00           $7,399.26                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-074        RMO Trustee                                  Cuyahoga       land             6,300.00           $6,873.21                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-078        RMO Trustee                                  Cuyahoga       land             6,600.00           $7,476.74                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-079        RMO Trustee                                  Cuyahoga       land             6,700.00           $6,962.52                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-080        RMO Trustee                                  Cuyahoga       land             6,900.00           $7,469.68                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-083        RMO Trustee                                  Cuyahoga       land             5,900.00           $6,658.21                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                            $396,000 (amended Inst    RBS Charter One
                                                        SARAH LANE (Stones                                                                                                Parkview
200901140920    763-19-084        RMO Trustee                                  Cuyahoga       land             6,300.00           $7,441.02                                                   No. 2090910516) to        201405200185
                                                         Throw Development)                                                                                             200807300886
                                                                                                                                                                                                $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                                                     Parkview Fed 1847-
                                                                                                                                                                                                                            1038
                                                                                                                                                                        John R. Masco
  1544-608       10-154300        RMO Trustee             434 Water Street     GEAUGA         land            100,000.00            $0.00                                                          300,000.00          ($5,587,208.30)
                                                                                                                                                                          1757-888
                                                                                                                                                                                                                      Amend 1868-884
                                                                                                                                                                                                                        ($15,604,370)
                                                                                                                                                                       RBS Charter one
2008R025619    01B094B000070      RMO Trustee             NORWOOD DR            LAKE          land             2,720.00            $619.45                                                       12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2008R025619    01B094B000080      RMO Trustee             NORWOOD DR            LAKE          land             2,720.00            $619.45                                                       12,960,000.00
                                                                                                                                                                        2014R013442


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                                                                                                      Counties 100%         Taxes and delinq.      total of tax 
                               Property Information                                                   Market  Valuations   2016 payable 2017       certificates                   First Mortgage                                                 Additional Mortgages/liens
                                                                                                                                                                      Lender (1)
current deed       Parcel           owner                 street address     county       type                             as of 11/20/2017                         Instrument No           mortgage amount            2nd               third                    fourth           Fifth
                                                                                                                                                                   RBS Charter one
2008R029986    01B094B000090    RMO Trustee              NORWOOD DR          LAKE         land             2,720.00            $619.45                                                        12,960,000.00
                                                                                                                                                                    2014R013442
                                                                                                                                                                   RBS Charter one
2008R029986    01B094B000100    RMO Trustee              NORWOOD DR          LAKE         land             2,720.00            $619.45                                                        12,960,000.00
                                                                                                                                                                    2014R013442
                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter one
                                                                                                                                                                       Parkview
2002R063278    01B108B000010    RMO Trustee               N RIDGE RD         LAKE         land             31,200.00           $470.22                                                       2009R024377)          2014R013442
                                                                                                                                                                    2008R021420
                                                                                                                                                                                             $15,604,370.00      ($12,960,000.00)
                                                                                                                                                                   RBS Charter one
2008R032167    02A0020000030    RMO Trustee                RIVER ST          LAKE         land              260.00             $337.20                                                        12,960,000.00
                                                                                                                                                                    2014R013442
                                                                                        comm
 1195-309      03A0380000190    RMO Trustee                CLARK RD          LAKE                          52,300.00            $0.00
                                                                                       structure
 1195-309      03A0380000200    RMO Trustee                CLARK RD          LAKE         land             1,180.00             $0.00
                                                                                                                                                                    Tax Ceritficate                               Tax Ceritficate   Tax Ceritficate
                                                                                                                                                                                                                                                             Tax Ceritficate
2002r053356    07A0270000090    RMO Trustee               CARTER RD          LAKE         land            395,880.00            $0.00                               2015R017465              39,164.58            2016R002884       2016R030392
                                                                                                                                                                                                                                                         2017R027075 $9,323.29
                                                                                                                                                                     $39,164.58                                     $9,010.38         $8,849.90
2002r053356    07A0340000160    RMO Trustee             5848 VROOMAN RD      LAKE      industrial         630,520.00          $7,868.40
                                                                                                                                                                    Ruth Brainard &
                                                                                                                                                                      Dora Farley
                                                                                                                                                                     2009R010202
2009R010201    07A0350000030    RMO Trustee               CARTER RD          LAKE         land             78,900.00         $45,500.65                                                     $640,000.00
                                                                                                                                                                       assigned
                                                                                                                                                                   216r033821 Farley
                                                                                                                                                                       Land LLC
                                                                                                                                                                    Ruth Brainard &
                                                                                                                                                                      Dora Farley
                                                                                                                                                                     2009R010202
2009R010201    07A0350000050    RMO Trustee               VROOMAN RD         LAKE         land             50,470.00          $1,175.56                                                     $640,000.00
                                                                                                                                                                       assigned
                                                                                                                                                                   216r033821 Farley
                                                                                                                                                                       Land LLC
                                                                                                                                                                     Lake National
                                                                                                                                                                     2008R001118
2005R044461    07A0420000230    RMO Trustee               VROOMAN RD         LAKE         land             49,200.00            $0.00                                                       $225,000.00
                                                                                                                                                                      modification
                                                                                                                                                                     2008R033620
                                                                                                                                                                     Lake National
                                                                                      single family                                                                  2008R001118
2008R001117    07A0420000240    RMO Trustee             5660 VROOMAN RD      LAKE                         205,230.00            $0.00                                                       $225,000.00
                                                                                         house                                                                        modification
                                                                                                                                                                     2008R033620
                                                                                                                                                                    RBS Charter one
2007r040609    08A0010000490    RMO Trustee               GIRDLED RD         LAKE         land             73,070.00          $1,072.21                                                    12,960,000.00
                                                                                                                                                                     2014R013442
                                                                                                                                                                                                                 RBS Charter one
                                                                                                                                                                   RBS Charter One
2004R006232    08A004A000240    RMO Trustee             11714GIRDLED RD      LAKE         land             33,540.00          $1,147.51                                                    $9,5000,000.00          2014R013442      12,960,000.00
                                                                                                                                                                    2008R009281
                                                                                                                                                                                                                 ($12,960,000.00)
                                                                                                                                                                                                                 RBS Charter one
                                                                                      single family                                                                RBS Charter One
2002r066959    08A004B000140    RMO Trustee             7792 RAVENNA RD      LAKE                         114,260.00         $30,043.82                                                    $9,5000,000.00          2014R013442      12,960,000.00        Osair Inc (2016R028044)
                                                                                         house                                                                      2008R009281
                                                                                                                                                                                                                 ($12,960,000.00)
                                                                                                                                                                                       $5,857,208.30 (amended    RBS Charter one
                                                                                      single family                                                                    Parkview
2002R008731    08A004B000180    RMO Trustee             7800 RAVENNA RD      LAKE                         137,930.00         $28,947.60                                                     2009R024377)           2014R013442      12,960,000.00        Osair Inc (2016R028044)
                                                                                         house                                                                       2008R021420
                                                                                                                                                                                           $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                                       $5,857,208.30 (amended    RBS Charter one
                                                                                      single family                                                                    Parkview
2005R001308    08A006B000080    RMO Trustee             7020 WILLIAMS RD     LAKE                         235,890.00            $0.00                                                       2009R024377)           2014R013442      12,960,000.00       Osair Inc. (2017R012081)
                                                                                         house                                                                       2008R021420
                                                                                                                                                                                           $15,604,370.00        ($12,960,000.00)
                                                                                                                                                                     Tax certificate                              Tax Certificate   Tax certificate
                                                                                                                                                                                                                                                             tax certificate
2002r053356    08A0090000030    RMO Trustee               CARTER RD          LAKE         land            119,020.00            $0.00              21630.06          2015R017468             13,205.06             2016R02887       2016R030394
                                                                                                                                                                                                                                                         2017R027078 $2,902.18
                                                                                                                                                                      ($13,205.06                                   $2,761.39         $2,761.43
                                                                                                                                                                     tax certificate                              Tax certificate   Tax certificate
                                                                                                                                                                                                                                                             Tax Certificate
2003R073591    08A0090000040    RMO Trustee               CARTER RD          LAKE         land            120,330.00            $0.00               7083.43          2015R017467             13,549.59            2016R002888       2016R030395
                                                                                                                                                                                                                                                         2017R027079 $2,933.14
                                                                                                                                                                      $13,549.59                                    $2790.77         $$2,790.84
                                                                                                                                                                     Tax certificate                              Tax Certificate   Tax certificate
                                                                                                                                                                                                                                                             tax certificate
2003R018950    08A0090000050    RMO Trustee               CARTER RD          LAKE         land            137,840.00            $0.00              19148.97          2015R017466             15,492.44             2016R02891       2016R030396
                                                                                                                                                                                                                                                         2017R027080 $3,344.78
                                                                                                                                                                      ($15,492.44                                   $3,181.75         $3,181.79
                                                                                      single family                                                                  Lake National
2009R020096    08A0120000420    RMO Trustee             11579 GIRDLED RD     LAKE                         204,140.00            $0.00                                                       $111,000,00
                                                                                         house                                                                       2009R020097
                                                                                                                                                                   RBS Charter one
2003R056195    08A0130000540    RMO Trustee               RAVENNA RD         LAKE         land             66,750.00           $95.10                                                      12,960,000.00
                                                                                                                                                                    2014R013442
                                                                                                                                                                      Fifth Third
                                                                                                                                                                     assigned to
                                                                                                                                                                                                                 RBS Charter one
                                                                                                                                                                   Concord Hamden
2002R007377    08A0140000120    RMO Trustee           CONCORD HAMBDEN RD     LAKE         land             65,560.00         $13,660.62                                                      $487,500              2014R013442
                                                                                                                                                                      Road LLC
                                                                                                                                                                                                                 ($12,960,000.00)
                                                                                                                                                                    2004R031710
                                                                                                                                                                    2016R023738

                                                                                                                                                                      Fifth Third
                                                                                                                                                                     assigned to
                                                                                                                                                                                                                 RBS Charter one
                                                                                                                                                                   Concord Hamden
2002R007379    08A0140000390    RMO Trustee           CONCORD HAMBDEN RD     LAKE         land            181,370.00         $37,840.88                                                      $487,500              2014R013442
                                                                                                                                                                      Road LLC
                                                                                                                                                                                                                 ($12,960,000.00)
                                                                                                                                                                    2004R031710
                                                                                                                                                                    2016R023738
                                                                                                                                                                    Huntington (fmly
                                                                                                                                                                      SKY Bank)                                  RBS Charter one
                                                                                      single family
2006r041530    08A0200000040    RMO Trustee             7741 AUBURN RD       LAKE                          89,480.00            $0.00                               2006R014531-            $112,000.00            2014R013442
                                                                                         house
                                                                                                                                                                         refiled                                 ($12,960,000.00)
                                                                                                                                                                     2006R046767




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                                                                                                          Counties 100%         Taxes and delinq.      total of tax 
                               Property Information                                                       Market  Valuations   2016 payable 2017       certificates                     First Mortgage                                                Additional Mortgages/liens
                                                                                                                                                                          Lender (1)
current deed       Parcel           owner                  street address        county       type                             as of 11/20/2017                         Instrument No           mortgage amount            2nd                third                    fourth      Fifth
                                                                                                                                                                                            $5,857,208.30 (amended   RBS Charter one
                                                                                          commercial                                                                      Parkview
2005R041535    11B0340000050    RMO Trustee              2450 N RIDGE RD         LAKE                          68,610.00          $1,314.93                                                      2009R024377)          2014R013442
                                                                                            garage                                                                      2008R021420
                                                                                                                                                                                                 $15,604,370.00      ($12,960,000.00)
                                                       SPRING LAKE BV (note
                                                        error on deed shows                                                                                            RBS Charter one
2005R041534    11B0340000570    RMO Trustee                                      LAKE         land               90.00              $0.00                                                        12,960,000.00
                                                        property in richard W                                                                                           2014R013442
                                                          osborne, trustee
                                                                                                                                                                                            $5,857,208.30 (amended   RBS Charter one
                                                      26 FAIRPORT NURSERY                 single family                                                                   Parkview
 1195/309      11B0370000020    RMO Trustee                                      LAKE                          51,540.00           $635.02                                                       2009R024377)          2014R013442
                                                               RD                            house                                                                      2008R021420
                                                                                                                                                                                                $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                                                                       tax certificate
                                                      150 FAIRPORT NURSERY                                                                                             RBS Charter one
2009r006113    11B038A000100    RMO Trustee                                      LAKE         land             57,120.00            $0.00               2976.61                                  12,960,000.00         2016r030213
                                                                RD                                                                                                      2014R013442
                                                                                                                                                                                                                        $$2,976.61
                                                                                              land                                                                     RBS Charter one
2004R045685    11B041E000080    RMO Trustee               46 IROQUOIS AV         LAKE                            20.00              $0.00                                                        12,960,000.00
                                                                                           (subsided)                                                                   2014R013442
                                                                                              land                                                                     RBS Charter one
2004R045687    11B041G040130    RMO Trustee                214 LAKE RD           LAKE                            0.00               $0.00                                                        12,960,000.00
                                                                                           (subsided)                                                                   2014R013442
                                                                                                                                                                       RBS Charter one
2001R036960    11B043A000200    RMO Trustee              1053 ARDOYLE AV         LAKE         land               30.00              $0.00                                                        12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
 1195-309      11B043A000230    RMO Trustee                321 Lake Road         LAKE         land              350.00              $0.00                                                        12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2006R017187    11B043A000390    RMO Trustee                 MIDWAY BV            LAKE         land               40.00              $0.00                                                        12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2006R017187    11B043B000560    RMO Trustee               ROBINHOOD AV           LAKE         land             4,900.00            $243.50                                                       12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2006R018574    11B043B000600    RMO Trustee                 SUNSET CT            LAKE         land             7,670.00           $1,650.72                                                      12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2006R017187    11B043B000620    RMO Trustee                 SUNSET CT            LAKE         land             7,960.00            $394.98                                                       12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2008r025618    11B065B000010    RMO Trustee               RICHMOND RD            LAKE         land             4,050.00             $0.00                                                        12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2008r025618    11B065B000020    RMO Trustee               RICHMOND RD            LAKE         land             4,500.00             $0.00                                                        12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2008r025618    11B065B000030    RMO Trustee             946 RICHMOND RD          LAKE         land             4,500.00             $0.00                                                        12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2002R059697    13A0020000200    RMO Trustee                WILLIAMS ST           LAKE         land             3,940.00           $1,087.49                                                      12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2009R021012    15C0260000210    RMO Trustee                  STAGE AV            LAKE         land             13,920.00          $3,197.62                                                      12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                                            $5,857,208.30 (amended   RBS Charter one
                                                                                          single family                                                                   Parkview
2004R014718    15C036H000110    RMO Trustee             1220 W JACKSON ST        LAKE                          97,620.00           $132.89                                                       2009R024377)          2014R013442
                                                                                             house                                                                      2008R021420
                                                                                                                                                                                                $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                                                                       tax certificate    tax certficate
                                                                                          single family                                                                RBS Charter one
2002R063822    15C036H000180    RMO Trustee              1192 West Jackson       LAKE                          72,390.00            $0.00               4630.17                                  12,960,000.00         2016R030476       2017R025157
                                                                                             house                                                                      2014R013442
                                                                                                                                                                                                                         $3,518.35         $$1,111.82
                                                                                                                                                                                            $5,857,208.30 (amended   RBS Charter one
                                                                                          single family                                                                   Parkview
2002R048955    15C036H000190    RMO Trustee             1186 W JACKSON ST        LAKE                          91,310.00          $1,270.13                                                      2009R024377)          2014R013442
                                                                                             house                                                                      2008R021420
                                                                                                                                                                                                $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                       RBS Charter one
2004R045688    15D016C000150    RMO Trustee             SANFORD REAR ST          LAKE         land             6,570.00           $1,597.60                                                      12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2004R045691    15D0200000040    RMO Trustee           OWEGO ST/ North St Clair   LAKE         land             1,910.00            $473.41                                                       12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
1996R029845    16B0280000200    RMO Trustee              7209 MENTOR AV          LAKE         land             96,270.00         $18,568.98                                                      12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2001R006784    16B031B000270    RMO Trustee                 MENTOR AV            LAKE         land             2,720.00             $0.00                                                        12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2001R006784    16B031B000280    RMO Trustee                 MENTOR AV            LAKE         land             19,030.00            $0.00                                                        12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                                                                     RBS Charter one
                                                                                                                                                                       RBS Charter One
2001R006784    16B031B000310    RMO Trustee                 MENTOR AV            LAKE         land             30,380.00            $0.00                                                        $9,5000,000.00        2014R013442
                                                                                                                                                                        2008R009281
                                                                                                                                                                                                                     ($12,960,000.00)
                                                                                                                                                                                                                     RBS Charter one
                                                                                                                                                                         Huntington
2008R018499    16B035N000050    RMO Trustee           7482 CENTER ST (Unit 5)    LAKE        condo            150,000.00            $0.00                                                         $268,800.00          2014R013442
                                                                                                                                                                        2008R018450
                                                                                                                                                                                                                     ($12,960,000.00)
                                                                                                                                                                       MERS assigned to
                                                                                                                                                                                                                     RBS Charter one
                                                       7472 PRESLEY AV (unit                                                                                            Huntington Bank
2008r027300    16B035N000200    RMO Trustee                                      LAKE        condo            150,000.00            $0.00                                                         $180,000.00          2014R013442
                                                               F1)                                                                                                       2008R027301
                                                                                                                                                                                                                     ($12,960,000.00)
                                                                                                                                                                         2017R028935
                                                                                                                                                                                                                     RBS Charter one
                                                       7474 PRESLEY AV (unit                                                                                           MERS- Huntington
2008r023941    16B035N000210    RMO Trustee                                      LAKE        condo            150,000.00            $0.00                                                         $180,000.00          2014R013442
                                                               F2)                                                                                                      2008R023942
                                                                                                                                                                                                                     ($12,960,000.00)
                                                                                                                                                                       CF Bank assign to                               tax certificate   tax certificate
                                                      7000 FRACCI CT aka 7001
2008R031040    16B0390000050    RMO Trustee                                      LAKE     comm office        1,001,000.00        $59,280.51            81293.98         7001 Center St              $787,500           2015R017460       2016R002893
                                                            Center Street
                                                                                                                                                                             LLC                                        $51,632.85        $29,661.13
                                                                                                                                                                       RBS Charter one
2008r027385    16B054A000010    RMO Trustee              OLD HEISLEY RD          LAKE         land             16,970.00           $187.96                                                       12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                                                                                                       RBS Charter one
2008r027385    16B054A000020    RMO Trustee            6930 OLD HEISLEY RD       LAKE         land             33,250.00            $0.00                                                        12,960,000.00
                                                                                                                                                                        2014R013442
                                                                                          single family                                                                RBS Charter one
2012R021595    16C0700000160    RMO Trustee             7325 REYNOLDS RD         LAKE                         307,020.00         $15,746.05                                                      12,960,000.00
                                                                                             house                                                                      2014R013442
                                                                                                                                                                                                                     RBS Charter one
                                                                                          single family                                                                 Lake National
2008R012853    16C0700000180    RMO Trustee             7317 REYNOLDS RD         LAKE                         145,960.00            $0.00                                                         $110,,000,00         2014R013442       12,960,000.00
                                                                                             house                                                                      2008R012854
                                                                                                                                                                                                                     ($12,960,000.00)



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                                                                                                                     Counties 100%         Taxes and delinq.      total of tax 
                                    Property Information                                                             Market  Valuations   2016 payable 2017       certificates                      First Mortgage                                            Additional Mortgages/liens
                                                                                                                                                                                      Lender (1)
current deed         Parcel              owner                    street address            county       type                             as of 11/20/2017                          Instrument No           mortgage amount            2nd               third                 fourth                 Fifth
                                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter one    tax certificate
                                                                                                     single family                                                                    Parkview                                                                            tax certificate      tax certificate
2004R013667     16C077J000200        RMO Trustee            8310 BELLFLOWER RD              LAKE                          84,890.00           $203.48             11147.57                                   2009R024377)          2014R013442      2015R017493
                                                                                                        house                                                                       2008R021420                                                                       2016R02890 $2,193.54 2017R027267 $1,224.28
                                                                                                                                                                                                             $15,604,370.00      ($12,960,000.00)     $7,729.75
                                                                                                                                                                                  RBS Charter one
  1195/326      16C0850000030        RMO Trustee            HOPKINS RD/Center St            LAKE         land             7,220.00           $1,870.07                                                       12,960,000.00
                                                                                                                                                                                   2014R013442
                                                                                                                                                                                  RBS Charter one
1997R018745     16C0870000030        RMO Trustee                  HENDRICKS                 LAKE         land             1,180.00            $238.96                                                        12,960,000.00
                                                                                                                                                                                   2014R013442
                                                                                                                                                                                  RBS Charter one                                    Osair Inc
  1195/326      16D102A000270        RMO Trustee                     charmar                LAKE         land             43,510.00           $610.32                                                        12,960,000.00
                                                                                                                                                                                   2014R013442                                    (2017R017453)
                                                                                                                                                                                  RBS Charter one                                    Osair Inc
  1195/326      16D102A000280        RMO Trustee                 charmar & LSB              LAKE         land             45,230.00           $644.68                                                        12,960,000.00
                                                                                                                                                                                   2014R013442                                    (2017R017454)
                                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter one
                                                                                                                                                                                      Parkview
1999R993866     19A090H000670        RMO Trustee                 ANDREWS RD                 LAKE         land             22,310.00           $373.07                                                        2009R024377)          2014R013442      12,960,000.00
                                                                                                                                                                                    2008R021420
                                                                                                                                                                                                            $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter one
                                                                                                                                                                                      Parkview
1999R993866      19A090I000010       RMO Trustee              6042 ANDREWS RD               LAKE         land             39,200.00           $655.37                                                        2009R024377)          2014R013442      12,960,000.00
                                                                                                                                                                                    2008R021420
                                                                                                                                                                                                            $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter one
                                                                                                                                                                                      Parkview
1999R993866      19A090I000020       RMO Trustee           PRIMROSE ANDREWS RD              LAKE         land             27,520.00           $460.00                                                        2009R024377)          2014R013442      12,960,000.00
                                                                                                                                                                                    2008R021420
                                                                                                                                                                                                            $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                                  RBS Charter one
                                                               S I 90 (south side of
2009R019035     26A0010000030        RMO Trustee                                            LAKE         land              300.00              $0.00                                2014R013442              12,960,000.00
                                                            Interstate 90 in waite hill)
                                                                                                                                                                                  ($12,960,000.00)
                                                                                                                                                                                                        $5,000,000.00 (amended
                                                                                                                                                                                      Parkview
2008R000868     27B039A000050        RMO Trustee                  PELTON RD                 LAKE         land             1,240.00            $68.57                                                       2009R023482) to
                                                                                                                                                                                    2008R000869
                                                                                                                                                                                                            $15,604,370.00
                                                                                                                                                                                  RBS Charter one
  1195/326      27B0440000110        RMO Trustee               LOST NATION RD               LAKE         land             2,240.00             $0.00                                                         12,960,000.00
                                                                                                                                                                                   2014R013442
                                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter one
                                                                                                                                                                                      Parkview
  1195/326      27B056E000530        RMO Trustee               SHADOWROW AV                 LAKE         land             7,280.00             $0.00                                                         2009R024377)          2014R013442      12,960,000.00
                                                                                                                                                                                    2008R021420
                                                                                                                                                                                                            $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter one
                                                                                                       comm                                                                           Parkview
  1195/326      27B056E000540        RMO Trustee            1101 LOST NATION RD             LAKE                          89,630.00          $1,385.35                                                       2009R024377)          2014R013442      12,960,000.00
                                                                                                      structure                                                                     2008R021420
                                                                                                                                                                                                            $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter one
                                                                                                                                                                                      Parkview
  1195/326      27B057C000370        RMO Trustee            1080 SHADOWROW RD               LAKE         land             15,200.00           $227.33                                                        2009R024377)          2014R013442      12,960,000.00
                                                                                                                                                                                    2008R021420
                                                                                                                                                                                                            $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter one
                                                                                                                                                                                      Parkview
  1195/326      27B057C000380        RMO Trustee            1086 SHADOWROW RD               LAKE         land             15,200.00           $227.32                                                        2009R024377)          2014R013442      12,960,000.00
                                                                                                                                                                                    2008R021420
                                                                                                                                                                                                            $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter one
                                                                                                                                                                                      Parkview
  1195/326      27B057C000390        RMO Trustee            1073 LOST NATION RD             LAKE         land             45,880.00         $10,529.54                                                       2009R024377)          2014R013442      12,960,000.00
                                                                                                                                                                                    2008R021420
                                                                                                                                                                                                            $15,604,370.00       ($12,960,000.00)
                                                                                                                                                                                  RBS Charter one
1999R036973     29B007C000350        RMO Trustee           CONCORD ST (devil strip)         LAKE         land              290.00             $68.06                                                         12,960,000.00
                                                                                                                                                                                   2014R013442
                                                                                                                                                                                  RBS Charter one
1999R036974     29B007D001020        RMO Trustee                  MEADOW ST                 LAKE         land              300.00             $74.87                                                         12,960,000.00
                                                                                                                                                                                   2014R013442
                                                                                                                                                                                  RBS Charter one
1999r035975     29B007D001030        RMO Trustee                 CATAWBA ST                 LAKE         land              300.00             $74.87                                                         12,960,000.00
                                                                                                                                                                                   2014R013442
                                                                                                                                                                                  RBS Charter one
1999R936976     29B007E000010        RMO Trustee                   WOOD ST                  LAKE         land              420.00             $101.93                                                        12,960,000.00
                                                                                                                                                                                   2014R013442
                                                                                                                                                                                  RBS Charter one
1999R036977     29B007E000170        RMO Trustee                    E 296 ST                LAKE         land              430.00             $102.31                                                        12,960,000.00
                                                                                                                                                                                   2014R013442
                                                                                                                                                                                  RBS Charter one
1999R036979     29B007E000450        RMO Trustee                ROBINDALE ST                LAKE         land              420.00             $99.57                                                         12,960,000.00
                                                                                                                                                                                   2014R013442
                                                                                                                                                                                  RBS Charter One
1999R036981     31A013B000770        RMO Trustee                   MILLER AV                LAKE         land             3,010.00            $716.82                                                        12,960,000.00
                                                                                                                                                                                   2014R013442

                                                                                                                                                                                  RBS Charter One
1997R036108     34A017A000030        RMO Trustee               LAKE SHORE BV                LAKE         land             55,280.00           $820.85                                                        12,960,000.00
                                                                                                                                                                                   2014R012333

                                                                                                                                                                                  RBS Charter One                                RBS Charter one
                                                           ELBERTA RD/Renaissance
2002r064408     35A0080000110        RMO Trustee                                            LAKE         land             18,930.00         $99,507.27                              2008R009281              $9,5000,000.00        2014R013442
                                                                   Pkwy
                                                                                                                                                                                   ($9,500,000.00)                               ($12,960,000.00)
                                                                                                                                                                                                                                  tax certificate
                                                                                                                                                                                                                                                    tax certificate
                31-210-00-00-012-                                                                                                                                                 RBS Charter One                                  201517703
 200808439                           RMO Trustee                 6912 ST RT 44             PORTAGE       land            104,500.00          $2,617.44            19904.62                                   12,960,000.00                           201615525
                       000                                                                                                                                                          201407352                                      201601861
                                                                                                                                                                                                                                                      $2,686.68
                                                                                                                                                                                                                                   $17,217.94
                                                                                                                                                                                                                                  tax certificate
                                                                                                                                                                                                                                                    tax certificate
                31-210-00-00-014-                                                                                                                                                 RBS Charter One                                  201517704
 200808439                           RMO Trustee                  LOVERS LN                PORTAGE       land             83,400.00          $2,088.65            16305.92                                   12,960,000.00                           201615526
                       000                                                                                                                                                          201407352                                      201601862
                                                                                                                                                                                                                                                      $2,164.12
                                                                                                                                                                                                                                   $14,141.77
                                                                                                                                                                                      Marion Rose
                                                                                                                                                                                   Nathan Trustee -
                                                                                                                                                                                                                                 RBS Charter One
Vol 244, Page   35-021-00-00-001-                                                                                                                                                    frances r Rutt,
                                     RMO Trustee                     FROST                 PORTAGE       land             33,600.00          $6,492.06                                                         100,000.00           201407352       12,960,000.00
     639               000                                                                                                                                                        trustee 200110932
                                                                                                                                                                                                                                 ($12,960,000.00)
                                                                                                                                                                                       200315067
                                                                                                                                                                                       200610255
Volume 466,     35-021-00-00-002-                                                                                                                                                 RBS Charter One
                                     RMO Trustee                     FROST                 PORTAGE       land              100.00             $14.68                                                         12,960,000.00
 Page 545              000                                                                                                                                                          201407352
                                                                                                                                                                                                                                                    tqx certificate
                                                                                                                                                                                                        $5,857,208.30 (amended   RBS Charter One
                35-023-00-00-023-                                                                    single family                                                                    Parkview                                                       201517719             tax certificate          tax certificate
 200529106                           RMO Trustee                   538 FROST               PORTAGE                        92,500.00            $0.00               8997.92                                  2009R018937) to         201407352
                       000                                                                              house                                                                        200813955                                                        20161876        201615568       $2,311.25 201715988 $2,551.15
                                                                                                                                                                                                             $15,604,370.00      ($12,960,000.00)
                                                                                                                                                                                                                                                      $4132.52


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                                                                                   Counties 100%         Taxes and delinq.      total of tax 
                        Property Information                                       Market  Valuations   2016 payable 2017       certificates                    First Mortgage                               Additional Mortgages/liens
                                                                                                                                                  Lender (1)
current deed   Parcel        owner             street address      county   type                        as of 11/20/2017                        Instrument No           mortgage amount      2nd     third                    fourth      Fifth

                                                                 TOTALS            8,479,880.00               551,058.71          193119.25




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Name of Entity                                   Percent owned by RMO/Trusts Date Formed Date Ceased Operations   Active/Inactive Accountant/Bookkeeper EIN (If known)
000 Richmond Road LLC                                               100.00%      6/2/2014                         Active
000 West Jackson LLC                                                100.00%      6/2/2014                         Active
001 Jackson Street LLC                                              100.00%      6/2/2014                         Active
1058 Peach Blvd                                                     100.00%      6/2/2014                         Active
11447 Viceroy LLC                                                   100.00%     9/22/2014                         Active
11486 Viceroy LLC                                                   100.00%      6/2/2014                         Active
11495 Viceroy LLC                                                   100.00%      6/2/2014                         Active
11520 Monarch LLC                                                   100.00%     8/15/2016                         Active
11575 Girdled Road LLC                                              100.00%     2/26/2014                         Active
1180 W. Jackson St LLC                                              100.00%     9/22/2014                         Active
1392 Jackson Street LLC                                             100.00%     3/15/2017                         Active
15499 Kinsman Road LLC                                              100.00%     3/15/2017                         Active
2412 N. Newton Falls Road LLC                                       100.00%     8/29/2016                         Active
2737 Hubbard Rd LLC                                                 100.00%      7/3/2017                         Active
27981 EUCLID CO., LLC                                                50.00%     6/18/1997                         Active
306 Lakeshore LLC                                                   100.00%      1/6/2012                         Active
362 Center Street LLC                                               100.00%     3/15/2017                         Active
366 Center Street LLC                                               100.00%     3/15/2017                         Active
38700 PELTON ROAD, LLC                                              100.00%     1/22/2008                         Active
5848 Vrooman Road LLC                                               100.00%      7/3/2017                         Active
6631 Ridge Road LLC                                                 100.00%      6/2/2014                         Active
7001 Center Street LLC                                              100.00%     7/26/2016                         Active
7621 MENTOR AVENUE, LLC                                             100.00%     12/2/2009                         Active
8014 Bellflower LLC                                                 100.00%      5/7/2013                         Active
815 Superior Ave LLC                                                100.00%     8/29/1994                         Active
8491 Mayfield Acquisitions LLC                                       25.00% 10/25/2016                            Active
8667 East Avenue LLC                                                100.00%     9/22/2014                         Active
9010 TYLER, LLC                                                     100.00%      8/9/2017                         Active
A000 MENTOR AVENUE, LLC                                             100.00%      6/2/2014                         Active
ANGRMO OIL & GAS                                                     50.00%      3/3/2003                         Active
BACK LAND, LLC                                                      100.00%      3/3/2016                         Active
BIG OAT'S OIL FIELD SUPPLY COMPANY, LLC                             100.00%      5/8/2009                         Active                                XX-XXXXXXX
BISHOP ROAD LLC                                                     100.00% 11/15/2015                            Active
BLACK BEAR REALTY, LTD.                                              99.00%      5/4/1995                         Active                                XX-XXXXXXX
BLACKBROOK ROAD, LLC                                                100.00%     4/10/2014                         Active
CHOWDER GAS STORAGE FACILITY, LLC                                   100.00%      6/9/2008                         Active
CHOWDER LAND DEVELOPMENT CO., LLC                                   100.00%     7/28/2008                         Active
COBRA PIPELINE CO., LTD.                                             85.93% 10/17/2015                            Active                                XX-XXXXXXX
CONCORD/HAMBDEN ROAD, LLC                                           100.00%     3/22/2013                         Active
DAVID OIL COMPANY, LLC                                              100.00%      8/5/2016                         Active
EAST 27TH STREET LLC                                                100.00% 12/31/2015                            Active
ESPYVILLE PA, LLC                                                   100.00%      6/2/2014                         Active
FARLEY LAND, LLC                                                    100.00% 10/31/2016                            Active
FRONT LAND, LLC                                                     100.00%      3/3/2016                         Active




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GREAT LAKES PARKWAY, LLC                                         100.00%   12/23/2009          Active
HALE ROAD, LLC                                                   100.00%   11/24/2014          Active
HAMILTON/MERCANTILE DEVELOPMENT COMPANY, INC.                    100.00%    4/23/1997          Active
HAMILTON-MERCANTILE LAND LLC                                     100.00%   11/15/2015          Active
HEISLEY-HOPKINS, INC.                                            100.00%     2/4/1991          Active               XX-XXXXXXX
JOHN D. OIL AND GAS COMPANY                                      100.00%    6/23/2000          Active
John D. Oil and Gas Marketing LLC                                 85.93%                       Active               XX-XXXXXXX
JOHN D. RESOURCES, LLC                                           100.00%    9/27/2004          Active               XX-XXXXXXX
KYKUIT RESOURCES, LLC                                             18.22%     5/8/2007          Active               XX-XXXXXXX
Lec House LLC                                                    100.00%   12/21/2016          Active
LEIMCO ACQUISITION COMPANY, LLC                                  100.00%     9/6/2017          Active
LEIMCO DEVELOPMENT COMPANY, LTD.                                  90.00%    3/30/2001          Active
LEIMCO HOLDING COMPANY, LLC                                      100.00%     3/3/2016          Active
LIGHTNING OIL CO., LTD.                                           49.00%     4/5/1996          Active
LIGHTNING OIL COMPANY                                            100.00%    12/9/1991          Active               XX-XXXXXXX
LIGHTNING PIPELINE COMPANY II, INC.                              100.00%    1/30/2002          Active               XX-XXXXXXX
LIGHTNING PIPELINE COMPANY LTD.                                   85.93%   10/15/2001          Active               XX-XXXXXXX
LITTLE INCH, LLC                                                 100.00%    5/11/2005          Active
MADISON LAND LLC                                                 100.00%   11/15/2015          Active
MADISON/ROUTE 20, LLC                                             50.00%     5/6/1999          Active
MARIETTA LAND PROPERTIES LLC                                     100.00%     9/6/2016          Active
MENTOR EQUIPMENT RENTAL LLC                                      100.00%    1/21/2015          Active
MIDWAY INDUSTRIAL CAMPUS CO., LTD.                                33.34%   12/18/2000          Active
NATHAN PROPERTIES, LLC                                           100.00%   10/21/2011          Active
NEO GAS MARKETING, LLC                                           100.00%    7/17/2003          Active               XX-XXXXXXX
OHIO PIPELINE LLC                                                 85.93%    5/27/2004          Active
Orwell-Trumbull Pipeline Co. LLC                                  85.30%     9/3/2004          Active               XX-XXXXXXX
OSAIR, INC                                                        95.00%     2/9/1963          Active               XX-XXXXXXX
PAINESVILLE BALLFIELD, LLC                                       100.00%    9/22/2014          Active
PLAZA AVENUE, LLC                                                100.00%    9/22/2014          Active
POPEYE'S MARINA, INC.                                            100.00%   11/18/1987          Active
RAVENNA ROAD II, LLC                                             100.00%    9/22/2014          Active
RIGRTONA HOLDING COMPANY, LLC                                    100.00%     3/3/2016          Active
RMO, Inc.                                                        100.00%    8/16/1989          Active
ROCKEFELLER OIL COMPANY, LLC                                     100.00%     8/5/2016          Active
ROUTE 84 LLC                                                     100.00%    5/17/2017          Active
S.C.R.O. COMPANY, LLC                                             50.00%    5/19/1999          Active
SLEEPY HOLLOW OIL & GAS, LLC                                     100.00%   11/19/2005          Active               XX-XXXXXXX
Tatonka Oil Company LLC                                          100.00%    4/21/2016          Active
THE RETIREMENT MANAGEMENT COMPANY                                100.00%    3/26/1993          Active
TIN MAN STORAGE, LLC                                             100.00%    6/13/2005          Active
TINMAN STORAGE CENTER, LLC                                       100.00%   11/12/2004          Active
WILLIAMS RD., LLC                                                100.00%    9/22/2014          Active
WILSON LAND PROPERTIES, LLC                                      100.00%    1/14/2014          Active
WOODLANDS ASSISTED LIVING RESIDENCE - EASTLAND, LLC              100.00%    1/29/2004          Active               XX-XXXXXXX




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YELLOWBRICK STORAGE, LLC                                       100.00%     5/3/2013                         Active
1450 Jackson Street II LLC                                     100.00%    9/22/2014                    2017 Inactive
1450 Jackson Street LLC                                        100.00%   11/16/2010                    2017 Inactive
2681 ORCHARD WAY, INC.                                         100.00%    7/25/1999                         Inactive
5480 Woodside Road LLC                                         100.00%   10/28/2010                    2015 Inactive
5580 Woodside Rd. LLC                                          100.00%    5/11/2017                    2015 Inactive
7123 INDUSTRIAL PARK BLVD., INC.                               100.00%    1/15/1992                    2002 Inactive             XX-XXXXXXX
8420 Mentor Avenue LLC                                         100.00%     6/2/2014   Unknown               Inactive
8644 Station Street LLC                                        100.00%    5/30/2013                    2016 Inactive
ACHIEVEMENT, LTD                                                50.00%    11/5/1996                    2014 Inactive
ALTA GAS SERVICES LLC                                          100.00%    7/11/2005                    2014 Inactive
ANDOVER PROPANE, LLC                                           100.00%    6/26/2013                    2012 Inactive
BEDFORD PROPERTIES LTD.                                         66.89%    9/14/1994                    2014 Inactive
BLUE HERON DEVELOPMENT LTD.                                    100.00%    11/2/1995   10+ years ago         Inactive             XX-XXXXXXX
Brainard Gas Corp                                              100.00%    6/10/1999                    2010 Inactive
CARDINAL FRANCHISE CORP.                                       100.00%    7/13/1993   10+ years ago         Inactive             XX-XXXXXXX
CENTER STREET INVESTMENTS, INC.                                 54.20%    7/28/2000   Unknown               Inactive
CHARDON BANK BUILDING, LLC                                     100.00%     3/2/2009   10+ years ago         Inactive
CHECKERS OF OHIO, INC.                                         100.00%   10/15/1990   Never Operated        Inactive
COLUMBUS TILE YARD, LLC                                        100.00%    5/16/2002   10+ years ago         Inactive             XX-XXXXXXX
CONCORD GROUP, LLC                                              50.00%    4/19/2001   10+ years ago         Inactive
CRILE ROAD DEVELOPERS, LTD.                                    100.00%    2/22/2000   10+ years ago         Inactive
CUBBY'S RECYCLING LLC                                          100.00%     4/7/2011   Never Operated        Inactive
DELICIOUS DESIGNATED DRIVERS, LLC                              100.00%    1/31/2011   Never Operated        Inactive
DMO PROPERTIES, INC.                                           100.00%    6/17/1988   5+ years ago          Inactive             XX-XXXXXXX
ERIE-COKE PROPERTIES, INC.                                      33.34%   10/26/2000   10+ years ago         Inactive
FIRST INDEMNITY, LTD.                                          100.00%    11/1/1996   10+ years ago         Inactive             XX-XXXXXXX
FLAGLER, LLC                                                   100.00%     4/4/2003   10+ years ago         Inactive
FOREVER WILD, LLC                                              100.00%     6/5/2003   Never Operated        Inactive
GN1, LLC                                                       100.00%     1/3/2006   Unknown               Inactive
GN2, LLC                                                       100.00%     1/3/2006   Unknown               Inactive
GN3, LLC                                                       100.00%     1/3/2006   Unknown               Inactive
GN4, LLC                                                       100.00%     1/3/2006   Unknown               Inactive
GN5, LLC                                                       100.00%    1/18/2006   Unknown               Inactive
GREAT LAKES PLAZA, LTD.                                         51.47%    7/15/2002                    2012 Inactive
GREAT PLAINS EXPLORATION, LLC                                  100.00%     4/4/2003                    2016 Inactive             XX-XXXXXXX
HEISLEY STORAGE & MINI LTD.                                     33.00%    11/9/1995   10+ years ago         Inactive
HOPKINS HEISLEY CORP.                                          100.00%     3/6/1997   10+ years ago         Inactive
LAKESHORE & RT. 306, LLC                                       100.00%    7/16/2012                    2012 Inactive             XX-XXXXXXX
LIBERTY SELF STOR II LLC                                        99.00%                                 2012 Inactive
LIBERTY SELF STOR, LTD.                                        100.00%     6/3/1996                    2012 Inactive
LITTLE OATS, LLC                                               100.00%    3/22/2010                    2015 Inactive
LUDLOW NATURAL GAS COMPANY, LLC                                100.00%    3/28/2017                    2016 Inactive
MATCHWORKS TAVERN, LLC                                         100.00%     1/5/2011                    2012 Inactive
MATCHWORKS, LLC                                                100.00%    1/31/2012                    2012 Inactive




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MEADOWLANDS APARTMENTS, INC.                                     100.00%     2/2/1994   10+ years ago         Inactive             XX-XXXXXXX
MENTOR-BARD PROPERTIES, LLC                                       50.00%    3/29/2004                    2012 Inactive
MERIDIAN POINT REALTY TRUST '83                                  100.00%   12/14/1998   10+ years ago         Inactive
NORTHWESTERLY, LTD.                                              100.00%    8/22/1996   10+ years ago         Inactive             XX-XXXXXXX
OPD SANITARY SEWER DEVELOPMENT COMPANY, LLC                      100.00%     7/3/2002                    2014 Inactive
ORWELL NATURAL GAS COMPANY                                       100.00%    8/12/1986                    2012 Inactive             XX-XXXXXXX
OSBORNE CRUSHED STONE & CONCRETE LLC                             100.00%     8/1/2015                    2015 Inactive
OSBORNE MONETARY FINANCE, LLC                                    100.00%    3/30/2015                    2015 Inactive
OSBORNE SECURITIES, INC.                                          50.00%    9/12/1980   30+ years ago         Inactive
PAINESVILLE BANK BUILDING, LLC                                   100.00%     3/2/2009                    2012 Inactive
PAINESVILLE TOWNSHIP TRAILER PARK, INC.                           50.00%    5/10/1989   10+ years ago         Inactive
RENAISSANCE PARKWAY LLC                                          100.00%    2/29/2016                    2016 Inactive
RICK'S II, LLC                                                   100.00%   12/23/2009   Unknown               Inactive
RICK'S LTD.                                                      100.00%    11/3/2008   Unknown               Inactive
RICKY HOMES, INC                                                 100.00%   10/17/1985   20+ years ago         Inactive
ROCKEFELLER RENTALS, LLC                                         100.00%   12/16/2010   Unknown               Inactive
ROCKWELL GARAGE, LLC                                             100.00%    3/22/2013                    2012 Inactive
ROCKWELL PROPERTY, LLC                                           100.00%    4/24/2009                    2012 Inactive
ROUTE 20 BOWLING ALLEY, INC.                                      50.00%    7/26/1999   10+ years ago         Inactive
ROUTE 306 PROPERTIES, LLC                                        100.00%    2/12/2014   Never Operated        Inactive
ROUTE 306, LLC                                                   100.00%   12/27/2011   Never Operated        Inactive
ROUTE 44, LLC                                                    100.00%    8/24/2012                    2015 Inactive
SOUTHEAST RETIREMENT COMPANY LTD                                 100.00%    8/29/1994   10+ years ago         Inactive
STATION STREET LEASING, LLC                                      100.00%   11/27/2006                    2012 Inactive
STATION STREET LEASING, LLC                                      100.00%   11/27/2006   Unknown               Inactive
STATION STREET PARTNERS, LLC                                     100.00%    6/28/2002                    2012 Inactive
STATION STREET PARTNERS, LLC                                     100.00%     6/8/2002   Unknown               Inactive
STEVE-RICK, LTD.                                                  50.00%    4/12/2002   Unknown               Inactive
STIFFTHEBANKS.COM, LLC                                           100.00%    1/13/2011   Never Operated        Inactive
SUCH A DEAL, LLC                                                 100.00%     5/7/2007   Never Operated        Inactive
SUGAR BUSH HOLDINGS, LLC                                         100.00%   10/25/2013                    2016 Inactive
SUGARBRUSH PROPERTIES, LLC                                       100.00%    5/21/2015                    2016 Inactive
SUGARBUSH PROPERTIES I, LLC                                      100.00%     8/8/2014                    2016 Inactive
THE JEROME T. OSBORNE FAMILY LIMITED PARTNERSHIP                   7.28%   12/31/1996   2016-17               Inactive
TURBINE STORAGE LLC                                              100.00%     7/8/1999   10+ years ago         Inactive
TURKEY VULTURE FUND XIII, LTD.                                    35-40%   11/22/1994   10+ years ago         Inactive             XX-XXXXXXX
TURKEY VULTURE FUND XIV, LTD.                                     35-40%   12/31/2006   10+ years ago         Inactive             XX-XXXXXXX
TURKEY VULTURE MANAGEMENT, LTD.                                   35-40%   11/24/1997   10+ years ago         Inactive             XX-XXXXXXX
TYLER BOULEVARD HOLDING COMPANY                                  100.00%    9/25/1997   Unknown               Inactive
TYLER BOULEVARD, LLC                                             100.00%    1/31/2012   Unknown               Inactive
VROOMAN ROAD WATERLINE, LLC                                      100.00%    2/14/2013   Never Operated        Inactive
WOODLANDS ASSISTED LIVING RESIDENCE, LLC                          98.00%    8/25/2000   10+ years ago         Inactive             XX-XXXXXXX




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 Fill in this information to identify your case:

 Debtor 1                   Richard McKay Osborne, Sr.
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number            17-17361
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Big Oats                                                Last 4 digits of account number                                                                     $8,996.58
              Nonpriority Creditor's Name
              38700 Pelton Rd                                         When was the debt incurred?             2017
              Willoughby, OH 44094
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                           Contingent

                  Debtor 2 only                                           Unliquidated

                  Debtor 1 and Debtor 2 only                              Disputed
                                                                      Type of NONPRIORITY unsecured claim:
                  At least one of the debtors and another
                                                                          Student loans
                  Check if this claim is for a community
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 9
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 Debtor 1 Richard McKay Osborne, Sr.                                                                      Case number (if know)         17-17361

 4.2      Cobra Pipeline Company LTD                                 Last 4 digits of account number                                                        $6,391.51
          Nonpriority Creditor's Name
          3511 Lost Nation Rd                                        When was the debt incurred?           2017
          Suite 213
          Willoughby, OH 44094
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3      Crdt Systems                                               Last 4 digits of account number       0062                                                 $81.00
          Nonpriority Creditor's Name
          100 N Park                                                 When was the debt incurred?           Opened 4/18/14
          Helena, MT 59624
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Great Falls Clinic


 4.4      Credit Collections Services                                Last 4 digits of account number       6367                                               $145.00
          Nonpriority Creditor's Name
          Attention: Bankruptcy                                      When was the debt incurred?           Opened 10/15
          725 Canton Street
          Norwood, MA 02062
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Nationwide Insurance




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 Debtor 1 Richard McKay Osborne, Sr.                                                                      Case number (if know)         17-17361

          Cuyahoga County Common Pleas
 4.5      Ct                                                         Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Clerk of Court- Civil                                      When was the debt incurred?           various
          1200 Ontario St FL1
          Cleveland, OH 44113
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Court costs and fees


 4.6      Deep Springs Trout Club                                    Last 4 digits of account number                                                        $1,325.46
          Nonpriority Creditor's Name
          11069 Chardon Rd                                           When was the debt incurred?           2017
          Chardon, OH 44024
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



          DONNELLEY FINANCIAL
 4.7      SOLUTIONS INC                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          35 W WACKER DR 35TH FLOOR                                  When was the debt incurred?
          Chicago, IL 60601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unknown




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 Debtor 1 Richard McKay Osborne, Sr.                                                                      Case number (if know)         17-17361

 4.8      Ecolawn.net                                                Last 4 digits of account number                                                        $1,371.00
          Nonpriority Creditor's Name
          990 Erie Rd                                                When was the debt incurred?           2017
          Unit #P
          Eastlake, OH 44094
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.9      Heisley-Hopkins, LLC                                       Last 4 digits of account number                                                    $3,390,435.49
          Nonpriority Creditor's Name
          c/o Zack Burkons Receiver                                  When was the debt incurred?           various
          1621 Euclid Ave Ste 408
          Cleveland, OH 44115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         booked loans to Debtor on books and
              Yes                                                       Other. Specify   records of creditor


 4.1
 0        Illuminating Company                                       Last 4 digits of account number                                                              $0.06
          Nonpriority Creditor's Name
          PO Box 3638                                                When was the debt incurred?           2017
          Akron, OH 44309
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Royalty




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 Debtor 1 Richard McKay Osborne, Sr.                                                                      Case number (if know)         17-17361

 4.1
 1        John D. Resources LLC                                      Last 4 digits of account number                                                      $55,015.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           various
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         booked loans to Debtor on books and
              Yes                                                       Other. Specify   records of creditor


 4.1      Lake County Court of Common
 2        Pleas                                                      Last 4 digits of account number       1819                                               $711.51
          Nonpriority Creditor's Name
          Civil Clerk                                                When was the debt incurred?           2017
          47 N Park Pl
          Painesville, OH 44077
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Court Costs


 4.1
 3        Ludlow Natural Gas Co. LLC                                 Last 4 digits of account number                                                      $23,104.82
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           various
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         booked loans to Debtor on books and
              Yes                                                       Other. Specify   records of creditor




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 9
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 Debtor 1 Richard McKay Osborne, Sr.                                                                      Case number (if know)         17-17361

 4.1
 4        McKay Real Estate Corp.                                    Last 4 digits of account number                                                     $427,318.17
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           various
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         booked loans to Debtor on books and
              Yes                                                       Other. Specify   records of creditor


 4.1
 5        Mentor Lumber                                              Last 4 digits of account number                                                     $142,091.44
          Nonpriority Creditor's Name
          7180 Center St                                             When was the debt incurred?           2017
          Mentor, OH 44060
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 6        Orwell Natural Gas                                         Last 4 digits of account number                                                              $9.45
          Nonpriority Creditor's Name
          PO Box 73139                                               When was the debt incurred?           2017
          Cleveland, OH 44193-3139
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   on books and records of company




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 9
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 Debtor 1 Richard McKay Osborne, Sr.                                                                      Case number (if know)         17-17361

 4.1
 7        OsAir Inc.                                                 Last 4 digits of account number                                                    $2,051,251.94
          Nonpriority Creditor's Name
          7001 Center St                                             When was the debt incurred?           various
          Mentor, OH 44060
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         booked loans to Debtor on books and
              Yes                                                       Other. Specify   records of creditor


 4.1
 8        Portage County Common Pleas                                Last 4 digits of account number       various                                          Unknown
          Nonpriority Creditor's Name
          Civil Division                                             When was the debt incurred?           2017-2018
          PO BOX 1035
          Ravenna, OH 44266-1035
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Court Costs


 4.1
 9        Tony Schreiber's Hauling                                   Last 4 digits of account number                                                          $450.00
          Nonpriority Creditor's Name
          PO Box 1106                                                When was the debt incurred?           2017
          Fairport, OH 44077
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 9
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 Debtor 1 Richard McKay Osborne, Sr.                                                                      Case number (if know)          17-17361

 4.2
 0         Walker Brothers Construction                              Last 4 digits of account number                                                                  $395.00
           Nonpriority Creditor's Name
           284 Richmond St                                           When was the debt incurred?           2017
           Painesville, OH 44077
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 1         Yellowbrick Storage LLC                                   Last 4 digits of account number                                                              $63,267.62
           Nonpriority Creditor's Name
                                                                     When was the debt incurred?           various
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         booked loans to Debtor on books and
              Yes                                                       Other. Specify   records of creditor

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
  COLE, AARON M                                                Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2323 PARK AVE                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45206
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cuyahoga County Prosecutor                                    Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 General Civil Division                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 1200 Ontario St FL 8
 Cleveland, OH 44113
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lake County Prosecutor-Civil                                  Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 105 Main St                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 490
 Painesville, OH 44077
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ohio Attorney General                                         Line of (Check one):                         Part 1: Creditors with Priority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 8 of 9
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 Debtor 1 Richard McKay Osborne, Sr.                                                                      Case number (if know)          17-17361

 Collections Enforcement Section                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 attn Bankruptcy Staff
 150 E Gay ST Fl 21
 Columbus, OH 43215
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portage County Prosecutor                                     Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Civil Division                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 241 S Chestnut St
 Ravenna, OH 44266
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 United States Attorney General                                Line of (Check one):                         Part 1: Creditors with Priority Unsecured Claims
 Main Justice Bldg                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 10th & Constitution Ave NW
 Washington, DC 20530
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney-- ND Ohio                                         Line of (Check one):                         Part 1: Creditors with Priority Unsecured Claims
 Attn Bankruptcy Section                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 801 W Superior Ave Ste 400
 Cleveland, OH 44113-1852
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                6,172,361.05

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                6,172,361.05




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 9 of 9
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 Fill in this information to identify your case:

 Debtor 1                   Richard McKay Osborne, Sr.
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF OHIO

 Case number           17-17361
 (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         8667 East Avenue LLC                                                                 Schedule D, line   2.11
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G
                                                                                                   Huntington Natl Bk



    3.2         BIG OAT'S OIL FIELD SUPPLY Co                                                        Schedule D, line   2.11
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G
                                                                                                   Huntington Natl Bk



    3.3         Black Bear Realty Ltd                                                                 Schedule D, line   2.10
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G
                                                                                                   First National Bank of PA




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 3
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 Debtor 1 Richard McKay Osborne, Sr.                                                    Case number (if known)   17-17361


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.4      Chowder Gas Storage Facility LLC                                                   Schedule D, line   2.10
                                                                                                Schedule E/F, line
                                                                                                Schedule G
                                                                                             First National Bank of PA



    3.5      Great Plains Exploration LLC                                                      Schedule D, line   2.15
                                                                                               Schedule E/F, line
                                                                                               Schedule G
                                                                                             RBS Charter One/Citizens



    3.6      Hamilton Partners Inc.                                                             Schedule D, line   2.10
                                                                                                Schedule E/F, line
                                                                                                Schedule G
                                                                                             First National Bank of PA



    3.7      Heisley-Hopkins LLC                                                                Schedule D, line   2.10
                                                                                                Schedule E/F, line
                                                                                                Schedule G
                                                                                             First National Bank of PA



    3.8      John D Oil & Gas Company                                                          Schedule D, line   2.15
                                                                                               Schedule E/F, line
                                                                                               Schedule G
                                                                                             RBS Charter One/Citizens



    3.9      Junior Properties, Ltd                                                             Schedule D, line   2.10
                                                                                                Schedule E/F, line
                                                                                                Schedule G
                                                                                             First National Bank of PA



    3.10     Lake Shore Gas Storage, Inc.                                                       Schedule D, line   2.10
                                                                                                Schedule E/F, line
                                                                                                Schedule G
                                                                                             First National Bank of PA



    3.11     Orwell-Trumbull Pipeline Co                                                        Schedule D, line   2.10
                                                                                                Schedule E/F, line
                                                                                                Schedule G
                                                                                             First National Bank of PA




Official Form 106H                                                       Schedule H: Your Codebtors                                Page 2 of 3
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 Debtor 1 Richard McKay Osborne, Sr.                                                   Case number (if known)   17-17361


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.12     Oz Gas Ltd                                                                       Schedule D, line   2.15
                                                                                              Schedule E/F, line
                                                                                              Schedule G
                                                                                            RBS Charter One/Citizens




Official Form 106H                                                      Schedule H: Your Codebtors                                Page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                  Richard McKay Osborne, Sr.
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number           17-17361
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                               Dates Debtor 2
                                                                 lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income              Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.          (before deductions
                                                                                    exclusions)                                                   and exclusions)

 From January 1 of current year until                Wages, commissions,                          Unknown            Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1
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 Debtor 1      Richard McKay Osborne, Sr.                                                                  Case number (if known)   17-17361


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                             Wages, commissions,                      $-510,270.00           Wages, commissions,
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                    $-2,415,439.00           Wages, commissions,
 (January 1 to December 31, 2015 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income             Gross income
                                                   Describe below.                  each source                    Describe below.               (before deductions
                                                                                    (before deductions and                                       and exclusions)
                                                                                    exclusions)
 From January 1 of current year until See tax return                                              Unknown
 the date you filed for bankruptcy:

 For last calendar year:                           see tax return                              $634,132.00
 (January 1 to December 31, 2016 )

 For the calendar year before that:                see tax return                               $91,609.00
 (January 1 to December 31, 2015 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      Richard McKay Osborne, Sr.                                                                  Case number (if known)   17-17361


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Osborne et al v. Park View Federal                        appeal of the              Cuyahoga County Court of                   Pending
       Savings Bank, et al                                       judgment giving            Appeals                                    On appeal
       l 7-CA-106614                                             rise to the
                                                                                                                                       Concluded
                                                                 appointment of
                                                                 the receiver

       RICHARD M. OSBORNE, ET AL vs.                             Breach of                  Cuyahoga County Common                     Pending
       PARK VIEW FEDERAL SAVINGS                                 Contract                   Pleas Ct                                   On appeal
       BANK                                                                                 Clerk of Court- Civil
                                                                                                                                       Concluded
       14CV822810                                                                           1200 Ontario St FL1
                                                                                            Cleveland, OH 44113

       U.S. v. Osborne                                           alleged violations         U.S. Dist. Ct.                             Pending
       (individually and as trustee of RMO                       of the Clean Water                                                    On appeal
       Trust), Center Street Investments,                        Act caused by his
                                                                                                                                       Concluded
       Inc., Calendar Real Estate                                operation of a
       Development Co., LLC, et al.                              rock crushing
       11-CV-2039                                                facility

       RICHARD M. OSBORNE, ET AL. vs.                            Tort                       Cuyahoga County Common                     Pending
       KOHRMAN, JACKSON & KRANTZ                                                            Pleas Ct                                   On appeal
       P.L.L., ET AL.                                                                       Clerk of Court- Civil
                                                                                                                                       Concluded
       CV-14-830753                                                                         1200 Ontario St FL1
                                                                                            Cleveland, OH 44113

       U.S. v. Osborne (individually and                         CWA violation              U.S. Dist. Ct                              Pending
       as trustee of RMO Trust),                                 case                                                                  On appeal
       Madison/Rte 20, LLC, Midway
                                                                                                                                       Concluded
       Industrial Campus Co., LLC,1 et al
       11-CV-1029



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       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       In re Estate of Jerome T. Osborne                         Probate Matter             Lake County Probate Court                  Pending
       14 ES 0305                                                                                                                      On appeal
                                                                                                                                       Concluded


       Bank of America v Bucks                                   Foreclosure                Lake County Court of                       Pending
       17CF002041                                                                           Common Pleas                               On appeal
                                                                                            Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       Chicago Title Ins. Co. v. Osborne,                        Collection                 Lake County Common                         Pending
       Inc. and Osborne (individually),                                                     Pleas Court                                On appeal
       17CV000880
                                                                                                                                       Concluded


       Chicago Title Ins. Co. v. Osborne,                        Collection                 Lake County Court of                       Pending
       Inc. and Osborne (individually),                                                     Common Pleas                               On appeal
       17CV000816                                                                           Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       Osborne (individually and as                              Collection                 Lake County Court of                       Pending
       trustee of RMO Trust) v. Gorman,                                                     Common Pleas                               On appeal
       et al.
                                                                                                                                       Concluded
       17CV00 1408

       Richard M. Osborne, Executor v.                           declaration                Lake County Probate Court                  Pending
       Jennifer Iafelice                                                                                                               On appeal
       15 CV 0103
                                                                                                                                       Concluded


       Cobra Pipeline Co., Ltd. v. Ohio                          tax assessment             Ohio Bd. of Tax Appeals                    Pending
       Tax Commissioner                                                                                                                On appeal
       n/a
                                                                                                                                       Concluded


       Orwell-Trumbull Pipeline v. Ohio                          Tax Appeal                 Ohio Bd. of Tax Appeals                    Pending
       Tax Commissioner                                                                                                                On appeal
       n/a
                                                                                                                                       Concluded


       Osborne Trustee v LaFountaine                             Collection/Foreclo         Supreme Court County of                    Pending
       etal                                                      sure                       Essex NY                                   On appeal
       CV17-0532
                                                                                                                                       Concluded


       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF001819                                                                           Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF001704                                                                           Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

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       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF001651                                                                           Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF001631                                                                           Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF001394                                                                           Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF1633                                                                             Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF1632                                                                             Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF1631                                                                             Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF1630                                                                             Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF1622                                                                             Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077

       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                       Pending
       PARCELS OF LAND                                                                      Common Pleas                               On appeal
       16CF1620                                                                             Civil Clerk
                                                                                                                                       Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077




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       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       CENTER STREET SCHOOL                                      Foreclosure                Lake County Court of                        Pending
       CONDOMINIUMS AND                                                                     Common Pleas                                On appeal
       COACHHOUSES vs . OSBORNE                                                             Civil Clerk
                                                                                                                                        Concluded
       TRUSTEE,                                                                             47 N Park Pl
       156CF1547                                                                            Painesville, OH 44077

       LAKE COUNTY TREASURER vs .                                Foreclosure                Lake County Court of                        Pending
       PARCELS OF LAND                                                                      Common Pleas                                On appeal
       ENCUMBERED WITH LIENS                                                                Civil Clerk
                                                                                                                                        Concluded
       16CF1402                                                                             47 N Park Pl
                                                                                            Painesville, OH 44077

       OSBORNE TRUST, RICHARD M et                               Breach of                  Lake County Court of                        Pending
       al vs . FIRSTMERIT BANK NA et al                          Contract                   Common Pleas                                On appeal
       16CCV0363                                                                            Civil Clerk
                                                                                                                                        Concluded
                                                                                            47 N Park Pl
                                                                                            Painesville, OH 44077


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       Treasurer-Lake County                                     See listing of Foreclosures                                  various                      Unknown
       105 Main St
       PO BOX 490                                                    Property was repossessed.
       Painesville, OH 44077-0490                                    Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:



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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                        Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                             lost
                                                            insurance claims on line 33 of Schedule A/B: Property.
       Fire at PA Compound Swede                            Mutual Fire Insurance Company                                     8/21/2017               $900,000.00
       Road Tidioute PA


 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       FORBES LAW LLC                                                                                                         12/17                      $2,527.50
       Main Street Law Building
       166 Main Street
       Painesville, OH 44077


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or         Date transfer was
       Address                                                       property transferred                       payments received or debts       made
                                                                                                                paid in exchange
       Person's relationship to you




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       Person Who Received Transfer                                  Description and value of                   Describe any property or       Date transfer was
       Address                                                       property transferred                       payments received or debts     made
                                                                                                                paid in exchange
       Person's relationship to you
       Louie V, LLC                                                  See attached                               None                           January 8, 2017
       7321 Markell rd
       Waite Hill, OH 44094

       Daughter's LLC

       Jerome Osborne                                                06/01/2017; 2 shares of                    $637,619.00                    6/01;7/05;10/16;
       6011 Heisley Rd                                               Osborne Concrete & Stone &                                                10/17/2017
       Mentor, OH 44060                                              6 shares of Fairport Trucking
                                                                     for a total purchase of
       Nephew                                                        $181,268.00
                                                                     07/05/2017; 8 shares of
                                                                     Grand River Asphalt for a
                                                                     total purchase of
                                                                     $178,175.50
                                                                     10/16/2017; 19 shares of
                                                                     Osborne Co. Ltd. for a total
                                                                     purchase of $100,000.00
                                                                     10/17/2017; 8 shares of
                                                                     Grand River Asphalt for a
                                                                     total purchase of
                                                                     $178,175.50

       Michael E Osborne Trustee and                                 15 Shares of Cuyahoga                      $528,172.80 (Paid to           8/23/17
       Metric Drive Investors LLC                                    Concrete Co. Owned by                      RMO, Inc.)
       7670 Tyler Blvd                                               RMO, Inc. (RMO, Inc. owned
       Mentor, OH 44060                                              the stock and received the
                                                                     funds; Debtor also signed as
       Brother's Trust and Company                                   seller individually)


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made
       Richard M Osborne Trust                                                                                                                 1995; revoked
                                                                                                                                               12/17

       RIGRTONA Trust                                                                                                                          1995?; revoked
                                                                                                                                               12/17


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was            Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred




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21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                 have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                         have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Debtors other homes                                                                                      Furnishings                            No
       Various                                                                                                                                         Yes


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                   Court or agency                       Nature of the case                    Status of the
        Case Number                                                  Name                                                                        case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        See list attached to Schedule A/B                                                                        EIN:

                                                                                                                 From-To


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Richard McKay Osborne, Sr.
 Richard McKay Osborne, Sr.                                              Signature of Debtor 2
 Signature of Debtor 1

 Date      February 26, 2018                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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